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                                                                  Democracy Dies in Darkness



         Here's how to keep Russian hackers from
         attacking the 2018 elections
         By J.   Alex Halderman and Justin Talbot -Zorn

         June 21, 2017 at 6:00 a.m. EDT


         "They're coming after America," former FBI director James B. Comey told the
         Senate intelligence committee this month. "They will be back."

         In a highly politicized hearing, this bold statement drew strikingly little partisan
         disagreement. Senators on both sides of the aisle have seemingly reached consensus
         that foreign agents did try to tamper with the 2016 election and that they are
         extremely likely to do so again.

         The question is: What do we do about it?

         While the ongoing Russia investigation has, understandably, received massive
         attention, there's so far been scant public focus on the question of how we safeguard
         our electoral systems from outside interference in the future. Responding to the
        threat of election hacking isn't exclusively a matter of diplomatic intrigue or
        international sanctions. It's fundamentally a matter of computer science: how we
        harden our election technology through cybersecurity standards.
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          This week, we're joining a group of more than loo experts on election
          administration, computer science and national security in releasing a letter that lays
          out an actionable plan for safeguarding the vote. The experts include tea party
          Republicans and progressive Democrats, academic computer scientists and
          corporate security officials                    - all united in the view that our nation's rough
          patchwork of voting security measures is wholly inadequate. One of us (Halderman)
          will testify Wednesday before the Senate Intelligence Committee on Russia's attacks
          last year.

          This shouldn't be news to lawmakers. In the past decade, cybersecurity experts have
          revealed devastating vulnerabilities in every U.S. voting machine they've studied. In
          2014, the bipartisan Presidential Commission on Election Administration sounded
         the alarm about an "impending crisis" of insecure voting technology. In 2015,
         Lawrence Norden and Christopher Famighetti of the Brennan Center for Justice at
         New York University showed in a comprehensive study that the nation's voting
         machines are largely past their shelf-lives and deeply insecure. According to a
         survey of 274 election administrators across 28 states, a strong majority of election
         officials claim they need security upgrades to voting machines but simply lack the
         resources.




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          Ten years ago, Halderman was part of the first academic research team to conduct a
          comprehensive security analysis of a Direct Recording Electronic (DRE) voting
          machine. The study's findings were deeply troubling: It's possible to reprogram a
          machine to cause any candidate to win, without leaving a trace. The research team
          created malicious software                     - vote -stealing code - that could spread from machine
         to machine, much like a computer virus, and invisibly change the election outcome.
          Since then, cybersecurity experts have studied a wide range of U.S. voting machines
          - including both touch screens and optical scanners - and in every single case,
         they found severe vulnerabilities that would allow attackers to sabotage machines
         or alter votes




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         This month's blockbuster reporting in the Intercept and Bloomberg News show
         that hostile nations have our computerized election infrastructure in their sights.
         And the threats aren't limited to the voting machines and tabulators: adversaries
         can also go after voter registration databases and electronic poll books to block
        voters, create long lines at polling places and instill distrust in the system.

         So why hasn't Congress acted?




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          One simple answer is that lawmakers need a straightforward policy agenda to fix
         the system. The new statement from the loo election security experts provides a
         concrete road map:

         First, Congress should provide time -sensitive matching funds to states to upgrade
         voting technologies, and, in particular, replace paperless DRE voting machines with
         systems that include a good old -fashioned paper ballot                                          - that is to say, a physical
         record of the vote that's out of reach from cyberattacks.




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         Second, Congress should call on states to conduct risk -limiting audits for every
         federal race, by inspecting enough of the paper ballots to tell whether the computer
         results are accurate. These audits are a common -sense quality control, and they
         should be routine. Since they only require officials to check a small random sample
         of ballots, they quickly and affordably provide high assurance that the election
         outcome was correct. As Ron Rivest of the Massachusetts Institute of Technology
         and Philip Stark of the University of California have explained, states can gain high
         confidence regarding election outcomes by checking as few as 0.5 percent of the
        ballots in a given contest.




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          Finally, Congress should instruct federal agencies to partner with states to conduct
          serious and comprehensive threat assessment, and to identify and apply best
         practices in cybersecurity from across sectors to the design of voting equipment and
         the management of federal elections. This will raise the bar for attacks of all sorts.

         There's evidence this agenda can fly even in the age of hyperpartisan gridlock.




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         While many Democrats have supported election security reforms since former Rep.
         Rush Holt proposed related reforms a decade ago, prominent conservatives are now
         championing the cause. Recently, retired Army Intelligence Lt. Col. Tony Shaffer                                                             -
                                                                         - joined former
         a Fox News contributor and fearless President Barack Obama critic
         CIA director R. James Woolsey -a leading national defense advocate - to call for
         audits and federal cybersecurity standards. In a Fox News op -ed last month, the
        two made a conservative case for election security reform as a matter of national
        security, explaining why, among other factors, Congress' unfunded mandates under
        the Help America Vote Act of 2002 justify new security investments. Shaffer and
        Woolsey quote President Trump himself from an interview the morning of the
        election: "There's something really nice about the old paper ballot system," the
        then -candidate states. "You don't worry about hacking."



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        Perhaps the strongest argument why the new federal election security agenda can
        succeed is cost. New analysis from the Brennan Center finds that the country can
        replace insecure paperless voting systems for somewhere between $13o million and
        $400 million. Implementing risk -limiting audits nationally for federal elections
        would cost less than $20 million a year. These amounts are a rounding error in the
        administration's $640 billion defense budget request, but the investment would be
        a guaranteed way to boost voter confidence and significantly strengthen an
        important element of our national security.

        With many state and local officials keen to make necessary tech upgrades, Congress
        may need to only cover a fraction of the overall costs.

        If lawmakers agree with Comey's assessment that foreign agents are "coming after
        America," it stands to reason that Congress should devote resources to addressing
        the threat. This is a small price tag for the defense of our democracy.




        J.   Alex Halderman
        J.Alex Halderman is professor of computer science at the University of Michigan and director of
         Michigan's Center for Computer Security and Society. Follow !i'


        Justin Talbot -Zorn
        Justin Talbot-Zorn is a Truman National Security Fellow and an adviser to the National Election
        Defense Coalition. He has served as legislative director to three members of Congress. Follow V




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      Want to Know if the Election was Hacked? Look at
      the Ballots
                   J.   Alex Halderman          Follow
                    Nov 23, 2016       7   min read



      You may have read               at IVYMag that I've been in discussions with the Clinton campaign about
      whether it might wish to seek recounts in critical states. That article, which includes
      somebody else's description of my views, incorrectly describes the reasons manually checking
      ballots is an essential security safeguard (and includes some incorrect numbers, to boot). Let
      me set the record straight about what I and other leading election security experts have
      actually been saying to the campaign and everyone else who's willing to listen.

                 How might a foreign government hack America's voting machines to change the
              outcome of a presidential election? Here's one possible scenario. First, the
      attackers would probe election offices well in advance in order to find ways to break into
      their computers. Closer to the election, when it was clear from polling data which states
      would have close electoral margins, the attackers might spread malware into voting
      machines in some of these states, rigging the machines to shift a few percent of the vote
      to favor their desired candidate. This malware would likely be designed to remain
      inactive during pre -election tests, do its dirty business during the election, then erase
      itself when the polls close. A skilled attacker's work might leave no visible signs                                           -
      though the country might be surprised when results in several close states were off from
      pre- election polls.

       Could anyone be brazen enough to try such an attack? A few years ago, I might have said
       that sounds like science fiction, but 2016 has seen unprecedented cyberattacks aimed at
       interfering with the election. This summer, attackers broke into the email system of the
       Democratic National Committee and, separately, into the email account of John Podesta,
       Hillary Clinton's campaign chairman, and leaked private messages. Attackers infiltrated
       the voter registration systems of two states, Illinois and Arizona, and stole voter data.
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      And there's evidence that hackers attempted to breach election offices in several other
      states.

      In all these cases, Federal agencies publicly asserted that senior officials in the Russian
      government commissioned these attacks. Russia has sophisticated cyber- offensive
      capabilities, and has shown a willingness to use them to hack elections. In 2014, during
      the presidential election in Ukraine, attackers linked to Russia sabotaged the country's
      vote -counting infrastructure and, according to published reports, Ukrainian officials
      succeeded only at the last minute in defusing vote -stealing malware that was primed to
      cause the wrong winner to be announced. Russia is not the only country with the ability
                                                                                      -
      to pull off such an attack on American systems most of the world's military powers
      now have sophisticated cyberwarfare capabilities.




       The pink counties predominately use optical scan paper ballots, which can be examined to confirm
                                                                                                        that the
       computer voting machines produced an accurate count. Blue counties use paperless voting systems, which
                                                                  require forensic analysis.



       Were this year's deviations from pre -election polls the results of a cyberattack? Probably
       not. I believe the most likely explanation is that the polls were systematically wrong,
       rather than that the election was hacked. But I don't believe that either one of these
       seemingly unlikely explanations is overwhelmingly more likely than the other. The only
       way to know whether a cyberattack changed the result is to closely examine the
                                                       -
       available physical evidence paper ballots and voting equipment in critical states like
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      Wisconsin, Michigan, and Pennsylvania. Unfortunately, nobody is ever going to
      examine that evidence unless candidates in those states act now, in the next
      several days, to petition for recounts.

      What's to stop an attack like this from succeeding?
      America's voting machines have serious cybersecurity problems. That isn't news. It's
      been documented beyond any doubt over the last decade in numerous peer-reviewed
      papers and state -sponsored studies by me and by other computer security experts. We've
      been pointing out for years that voting machines are computers, and they have
      reprogrammable software, so if attackers can modify that software by infecting the
      machines with malware, they can cause the machines to give any answer whatsoever.
      I've demonstrated this in the laboratory with real voting machines   in just a few                           -
      seconds, anyone can install vote -stealing malware on those machines that silently alters
      the electronic records of every vote.




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      It doesn't matter whether the voting machines are connected to the Internet. Shortly
      before each election, poll workers copy the ballot design from a regular desktop
      computer in a government office, and use removable media (like the memory card from
      a digital camera) to load the ballot onto each machine. That initial computer is almost
      certainly not well secured, and if an attacker infects it, vote -stealing malware can hitch a
      ride to every voting machine in the area. There's no question that this is possible for
      technically sophisticated attackers. (If my Ph.D. students and I were criminals, I'm sure
      we could pull it off.) If anyone reasonably skilled is sufficiently motivated and willing to
      face the risk of getting caught, it's happened already.

      Why hasn't more been done about this? In the U.S., each state (and often individual
      counties or municipalities) selects its own election technology, and some states have
      taken steps to guard against these problems. (For instance, California banned the use of
      the most dangerous computer voting machines in 2007 as a result of vulnerabilities that
       and other computer scientists found.) But many states continue to use machines that
      I

      are known to be insecure                    -
                                 sometimes with software that is a decade or more out of
               -
      date because they simply don't have the money to replace those machines.


      There is one absolutely essential security safeguard that
      protects most Americans' votes: paper.
       know I may sound like a Luddite for saying so, but most election security experts are
       I

      with me on this: paper ballots are the best available technology for casting votes. We use
      two main kinds of paper systems in different parts of the U.S. Either voters fill out a
      ballot paper that gets scanned into a computer for counting (optical scan voting), or they
      vote on a computer that counts the vote and prints a record on a piece of paper (called a
      voter-verifiable paper audit trail). Either way, the paper creates a record of the vote that
      can't be later modified by any bugs, misconfiguration, or malicious software that might
       have infected the machines.

       After the election, human beings can examine the paper to make sure the results from
       the voting machines accurately determined who won. Just as you want the brakes in
       your car to keep working even if the car's computer goes haywire, accurate vote counts
       must remain available even if the machines are malfunctioning or attacked. In both
       cases, common sense tells us we need some kind of physical backup system. I and other

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       election security experts have been advocating for paper ballots for years, and today,
       about 70% of American voters live in jurisdictions that keep a paper record of every vote.


         Washington Journal:               J.   Alex Halderman on Cybersecurity and Voting
         Oct. 4, 2016: Prof. J. Alex Halderman, who has conducted research on voting
         machine security, talks about his concerns regarding the nation's voting...

         www.c -span.org




      There's just one problem, and it might come as a surprise even to many security experts:
      no state is planning to actually check the paper in a way that would reliably detect
      that the computer-based outcome was wrong. About half the states have no laws that
      require a manual examination of paper ballots, and most other states perform only
      superficial spot checks. If nobody looks at the paper, it might as well not be there. A
      clever attacker would exploit this.

      There's still one way that some of this year's paper ballots could be examined. In many
      states, candidates can petition for a recount. The candidate needs to pay the cost, which
      can run into millions of dollars. The deadlines for filing recount petitions are soon for                            -
      example, this Friday in Wisconsin (margin 0.7 %), Monday in Pennsylvania (margin
      1.2 %), and the following Wednesday in Michigan (margin 0.3 %).

                                                                                         -
       Examining the physical evidence in these states even if it finds nothing amiss will                                 -
       help allay doubt and give voters justified confidence that the results are accurate. It will
       also set a precedent for routinely examining paper ballots, which will provide an
       important deterrent against cyberattacks on future elections. Recounting the ballots now
       can only lead to strengthened electoral integrity, but the window for candidates to act is
       closing fast.

                          needs to be done to secure America's elections, and important new
                    Much more
                safeguards could be put in place by 2018. States still using paperless voting
       machines should replace them with optical scan systems, and all states should update
       their audit and recount procedures. There are fast and inexpensive ways to verify (or
       correct) computer voting results using a risk-limiting audit, a statistical method that
       involves manually inspecting randomly selected paper ballots. Officials need to begin
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         preparing soon to make sure all of these improvements are ready before the next big
         election.




        J. Alex Halderman is Professor of Computer Science & Engineering at the University of
        Michigan and Director of Michigan's Centerfor Computer Security & Society. His course on
        election technology, Securing Digital Democracy, is available on Coursera. He was recently
        named by Popular Science as one of the "ten brightest minds reshaping science, engineering,
        and the world."



           Politics       Elections          Security         Voting




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        HACKING THE VOTE: IT'S EASIER
        THAN YOU THINK
        By Steve            Friess             I    Fall 2018



        PROFESSOR J. ALEX HALDERMAN HAS MADE A CAREER STUDYING
        ELECTRONIC VOTING SECURITY. HIS RESEARCH HAS CHANGED THE
        CONCEPT OF STOLEN ELECTIONS FROM THEORY TO REALITY.




        "I know America's voting machines are vulnerable,"                            J.   Alex Halderman firmly stated, pausing to

        lift his head from the page he read to look up at                     a   phalanx of U.S. senators, "because my
        colleagues and have hacked them -repeatedly -as part of
                              I                                                               a   decade of research studying the
        technology that operates elections and learning how to make it stronger."


        It's not hyperbole to say         a        shudder swept through that august meeting room in the Hart Senate
        Office Building in Washington, D.C., as Halderman delivered                               a   much -rehearsed line at the onset of
        a   six-minute statement. Until the              U -M   computer science professor began his testimony before the
        Senate Select Committee on Intelligence in June 2017, the idea of                                    a   hacked American election felt
        to many lawmakers like a still -theoretical notion. Other technologists and elections integrity
        experts had warned members of Congress in such formal settings about abstract vulnerabilities,
        but state officials and election machine vendors had repeatedly insisted they had it all under
        control.


        Halderman has little patience for such coddling. That his voting machine intrusions took place in
        laboratories rather than live elections made his message no less alarming to the committee.


        "We've created attacks that can spread from machine to machine like                                       a   computer virus and
        silently change election outcomes," Halderman continued. "We studied touch screens and optical
        scan systems." Then, emphasizing each next word with a staccato delivery and direct eye contact,

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          he stated: "And in every single case, we found ways for attackers to sabotage machines and to
          steal votes. These capabilities are certainly within reach for America's enemies."


         After the aforementioned decade of warning lawmakers about the dangers posed by the
          machinery of U.S. elections, Halderman, 37, had delivered his message directly to the country's
          most powerful people. Since then, he has returned to the Capitol routinely to chat with legislators
         and their staff as Congress passed $380 million in funding for states to modernize their
         equipment and security practices.      In   addition, Sen. Richard Burr, the chair of the committee
         Halderman testified before, sought his input into an election reform package that, as of press
         time, has yet to be introduced.


         It was, he senses, his willingness to declare everything not just hackable but hacked that made
         heads turn during his Senate testimony. And it is those daring theatrical flourishes-combined with
         a    congenial demeanor of genuine, limitless patience with less tech -savvy people -that has thrust
         Halderman to the forefront of the quest for safer elections as well as other key high -tech security
         and privacy issues. At the hearing, Burr, a North Carolina Republican, good -naturedly referred to
         Halderman as someone who "likes to break in" to election systems and followed up by telling him,
         "I   think what you did was important." Halderman just chuckled along rather than correcting the
         senator's implication that he'd hacked live elections.


         Being likable is one of Halderman's most potent weapons in bending disparate groups of people to
         his will.


         "The archetype sometimes of a technical person might be someone who attaches less significance
        to the side of cooperating and interacting with people," says David Robinson, Halderman's dorm
         neighbor during his undergraduate days at Princeton University and now a principal of                a

        Washington, D.C. -based tech policy consultancy. "For Alex, the question of how you align
        everyone's politics and incentives in such       a   way that you're going to accomplish something
        extraordinary together is something that really comes naturally to him."




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         On a paper napkin, J. Alex Halderman diagrams ways    that hackers can infect voting machines with malware.   I   Photo by
                                                           Marc McAndrews




        In computer science circles, Halderman was a rock star long before he went to Capitol Hill to

        scare the bejesus out of everybody about the fragility of American democracy. During his first
        semester as       a   Princeton graduate student, he and his mentor, professor               Ed   Felten, showed how
        easy it was to defeat Sony BMG's efforts to prevent CD piracy.


        Not long after, Felten drew the promising young researcher into a project that would go on to
        inform much of Halderman's career: electronic voting security. After the 2000 election debacle in
        Florida, with all those hanging chads and confusion about voter intent on paper ballots, Congress
        gave states more than $3 billion to modernize their voting machinery. This led to a widescale move
        to touch -screen balloting and computerized tabulations, yet few states or equipment vendors
        would give independent researchers access to assess how secure these machines were. So in
        2006, Felten made contact with an elections insider willing to slip him                  a   commonly used model.




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         This set up        a   scene reminiscent of a spy novel, with Halderman, then 25, meeting in an alley with                          a

         man in     a   trench coat who handed him                a   large leather briefcase containing the contraband voting
         machine.       A   few months later, the team posted               a   YouTube video showing the machine being
         hacked in      a   mock election in which Benedict Arnold wins the presidency despite voters clearly
         choosing George Washington.


         That sort of cheeky antic became               a   signature feature of Halderman's efforts to alert the public to
         technological insecurities.           In   2010, most notably, the District of Columbia was planning to allow
         citizens to vote via the internet in municipal elections. Online voting is, to Halderman,                            a   particularly
         terrible idea and one that he has worked against by exposing security flaws                                in systems used in

         Australia, Estonia, and Norway.


         To demonstrate and            test the district's system to the public, the city held              a   mock election      a   few
         weeks before election day. Halderman -in his second year as an assistant professor of computer
         science at U -M -saw this as "a fantastic opportunity to test out attacks in                           a   live system but not an
         actual election."


         His team easily broke in, altering votes without detection, and even commandeered the video
         surveillance of the system's servers.               In   fact, the only reason anyone noticed the breach was the
         music on the "thank you for voting" page: His students had set the system to play "The Victors."


         District officials canceled the online voting idea and never returned to it.




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             Halderman, director of U-M's Center for Computer Security and Society, in his office     i   Photo by Joseph Xu /Michigan
                                                                  engineering




        One day in 2011, Halderman was at a whiteboard fielding questions from undergraduate
        engineering students in his "Introduction to Computer Security" class.


        A junior    asked why a certain approach to circumventing internet censorship in places like China
        wouldn't work, so Halderman began explaining its flaws. As he did, though, an idea popped into his
        head. The class, he says, didn't notice the few moments when he stopped and stared at the board,
        but at that moment           a   groundbreaking concept now known as "refraction networking" became fixed
        in his brain. Refraction          networking provides a way to deceive censors into thinking they have
        successfully blocked citizens from banned websites and services while they have, in actuality,
        allowed access.
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          Four years after that brainstorm in Ann Arbor, Halderman appeared in New York City with then -
          United Nations Ambassador Samantha Power to explain the concept at the Internet Freedom
          Technology Showcase, held alongside the 2015 U.N. General Assembly meeting. Halderman would
          go on to helm a coalition, relying on more than $2 million in federal funding from the State

          Department's Bureau of Democracy, Human Rights, and Labor, and this summer the second pilot
          deployment of the technique took place. Steven Schultze,                    a   former State Department program
         officer   in   the bureau, says refraction networking is "a generational jump forward" and "the most
          promising of all the anti -censorship programs going on."


         Halderman, now a tenured professor at U -M and the founding director of the University's Center for
         Computer Security and Society, describes his eureka moments as instances in which "the pieces
         snap together. You set up for it and then -aha! When you're working on hard problems, it's not so
         often when you get beautiful solutions."


         Beauty and elegance are traits Halderman clearly treasures,                      a   product of his upbringing on          a   50-
         acre wooded plot in Bucks County, Pennsylvania. His parents indulged his natural itch to
         disassemble electronics but also took him to New York often to see the opera. He opens some
         speeches with        a   portrait of his great-grandfather Maxo Vanka,               a   prominent Croatian -born artist,
         and uses that ancestry to trace his own philosophy of promoting security and privacy to Vanka's
         efforts to fight fascism.


         Halderman's office reflects much of his diverse interests and views. His shelves are overwhelmed
        with works by the likes of Plato and Homer as well as the expected computer science texts and a
        Geiger counter bought at the Titan Missile Museum in Tucson, Arizona, as a "symbol of                                 a   certain
        era of fear, of where we don't want to go." One telling piece of art on his wall is                          a   poster he made
        at Princeton showing           a   blown -up image of a key engraved with the words "DUPLICATION
        PROHIBITED." "It's the key to the room that contains a giant printer on which it was printed,"
        Halderman says with            a   smirk. "Using the information in this picture, you can replicate not only the
        physical key by going and cutting one but the poster of the key by printing one after getting in."


        Halderman's long- standing love of the humanities has made him especially aware of the real -world
        consequences of the misuse of technology. That helps to explain the dramatic array of
        technological discovery. From his U -M lab, he and his students have alerted Homeland Security
        that full -body scanners           in common use at     airports can be effortlessly duped. They also have
        developed       a   now -widely used method of querying every IP address in the world in minutes. And
        they have persuaded the Chinese government to abandon its efforts to require that all computer

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         users load a piece of surveillance software by demonstrating how vulnerable that made every                       PC

         in   the country to hack attack.


         In   2016, he took       a   group of students to Hamburg, Germany, for the Chaos Computer Club, billed
         as the world's biggest hacker conference. There, they watched him and a Princeton colleague

         reveal to the world that they had figured out the technological approach taken by the National
         Security Agency to intercept the enormous amount of material it captured according to the
         documents leaked by NSA whistleblower Edward Snowden. As part of the presentation, Halderman
         also told the world how best to undermine the NSA's surveillance.


         "Alex chooses problems that aren't just academically interesting but have                       a   real -world
         connection," says Zakir Durumeric, then            a   U -M   doctoral candidate who is now an assistant
         professor of computer science at Stanford. "If you look at the papers we've written over the last
        couple years, we're looking at how we can improve security today."




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          A U -M   student votes in the experimental election held on North Campus in a demonstration for The New York Times.   I




                                                 Photo by Levi Hutmacher /Michigan engineering




        The only reason there's no evidence of whether voting machines or vote tabulating equipment
        was hacked in the 2016 presidential election, Halderman insists, is because nobody allowed him
        or anyone else to check. This is the core of his advocacy regarding electronic voting machines and
        vote tabulators: He loves technology and believes it can improve lives, but he also urges extra
        caution when it comes to a process as important as selecting leaders.


        In   the weeks after the election, Green Party candidate Jill Stein filed for recounts of votes in
        Michigan, Wisconsin, and Pennsylvania. The intellectual backbone of that effort, however, came
        from Halderman and            a   clutch of computer scientists and elections experts who pushed for the
        chance to analyze the computer equipment used in those states for evidence of malware. After an
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          erroneous report in New York magazine set off a frenzy by claiming Halderman felt he had
          "persuasive evidence that the results                 ...   may have been manipulated or hacked," Halderman wrote
         a    widely read Medium essay             in   which he asserted he never said that but was, nonetheless,
         concerned.


         "The only way to know whether a cyberattack changed the result is to closely examine the
         available physical evidence -paper ballots and voting equipment in critical states like Wisconsin,
         Michigan, and Pennsylvania," he wrote. "Unfortunately, nobody is ever going to examine that
         evidence unless candidates in those states act now, in the next several days, to petition for
         recounts."


         In   the end, the effort didn't succeed. On cable news and social media, Halderman was dubbed                                        a

         Stein puppeteer trying to steal the election for Hillary Clinton, and court rulings blocked recounts in
         Pennsylvania and halted them in Michigan. In Wisconsin, recounts were completed with negligible
         vote changes, but nobody was able to inspect any of the equipment.


         It was remarkable, then,              that just six months later Halderman was invited to testify for the                     U.S.

         Senate and received warm reception from members of both political parties in                                    a   setting that can
         be notoriously partisan and contentious. To prepare, Halderman spent a few days with a "murder

         board" of friends and colleagues drilling him with possible questions and rehearsing his opening
         statement. The aim was for Halderman to avoid seeming partisan.


         "One thing we were careful about was trying to figure out how to keep the focus on the secure
        voting systems we all want instead of letting the conversation go down                             a   rabbit hole of concern
        about the election just passed," says Robinson, who helped edit Halderman's testimony. "We
        didn't want him to mention particular problems. We want everyone to have reason to trust our
        elections."


        On video of the hearing, Halderman appears unflappable as he explains why a certain type of

        inexpensive, statistically sound audit of paper ballots after an election ought to be routine and is
        key to double- checking the computer's results. In actuality, he says, "My adrenaline levels were so
        high, my heart was beating so fast. It was all                   I   could do to read those prepared remarks, but when                    I




        was done, it was a tremendous relief."


        The message seemed well- received, and a few states are starting to consider post-election audits.
        Since then, Halderman has become                    a   media fixture. The New York Times even produced a short

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          film   in which    Halderman staged   a   mock election between Ohio State and              U -M   at the Beyster
          Building on North Campus. Knowing that most students would vote for U -M, he demonstrated how
          easy it is to hack the machines and produce a Buckeyes win.


          He's still worried about the health of the democratic process, but he tinges his alarm with some
         optimism. Asked whether the country is any better prepared for the 2018 midterm elections than it
         was in 2016, he replies, "Oh, it's more or less the same. It's not great news. But, if anything, we're
         watching more vigilantly. If the systems are probed or attacked, it's more likely we'll find out about
         it in 2018. Does that mean that attacks won't succeed that would have succeeded before? don't                    I




         think we have a basis for strongly increased confidence there. But there are more people
         watching."




         Steve Friess is a Michigan -based freelance journalist and a 2011 -12 Knight -Wallace Fellow at U-
         M. His work appears regularly in The New York Times, The New Republic, Playboy, and many

         others.




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 (12)   United States Patent                                                 (10)   Patent No.:     US 8,033,463 B2
        Felten et al.                                                        (45)   Date of Patent:     Oct. 11, 2011

(54)    SYSTEM AND METHOD FOR                                            (56)                    References Cited
        MACHINE-ASSISTED ELECTION AUDITING
                                                                                          U.S. PATENT DOCUMENTS
(75)    Inventors: Edward W. Felten, Princeton, NJ (US);                  2004/0195323    Al 10/2004 Vadura et al.
                   Joseph A. Calendrino, Ashburn, VA                      2005/0247783    Al 11/2005 Poulos et al.
                   (US); J. Alex Halderman, Princeton, NJ                 2006/0041516    Al     2/2006 Bogasky et al.
                                                                          2007/0007341    Al     1/2007 Poulin et al.
                   (US)
                                                                                            OTHER PUBLICATIONS
(73)    Assignee: The Trustees of Princeton University,
                                                                         Neff, C. A., "Election confidence: A comparison of methodologies
                  Princeton, NJ (US)                                     and their relative effectiveness at achieving it," Dec. 2003.
                                                                         Johnson, K. C., "Election certification by statistical audit of voter
(   *) Notice:       Subject to any disclaimer, the term of this         verified paper ballots," Oct. 2004.
                     patent is extended or adjusted under 35
                     U.S.C. 154(b) by 1103 days.                                               --
                                                                         Primary Examiner Thien M. Le

(21)    Appl. No.: 11/833,955
                                                                         R. DeWitt
                                                                                                            -
                                                                         Assistant Examiner Christopher Stanford
                                                                         (74) Attorney, Agent, or Firm 24IP Law Group; Timothy

(22)    Filed:       Aug. 3, 2007
                                                                       (57)                      ABSTRACT
(65)                    Prior Publication Data                         A method for auditing ballots cast in an election, wherein
        US 2009/0037260 Al          Feb. 5, 2009                       each ballot is associated with a group. A subset of groups
                                                                       from which sample ballots will be chosen is identified. An
                 Related U.S. Application Data                         identifier is printed on each ballot in the subset. Each ballot
                                                                       has a different identifier than every other ballot in its group. A
(60)    Provisional application No. 60/952,960, filed on Jul.          check is performed to determine whether the identifiers were
        31, 2007.                                                      printed correctly on the ballots. If so, a machine re -count of
                                                                       ballots in each group in the subset is performed and the results
(51)    Int. Cl.                                                       are compared to the initial tally of ballots associated with the
        GO6K 17/00              (2006.01)                              group. If there is a mismatch, a further investigation is trig-
        GO6K 13/00              (2006.01)                              gered. If there is a match, manual verification is performed on
                                                                       sample ballots from each group. The audit may begin prior to
(52)    U.S. Cl.                                       235/386         completion of voting from all precincts by estimating the
(58)    Field of Classification Search                235/386;         number of samples that will be necessary.
                                                        705/12
        See application file for complete search history.                                10 Claims, 3 Drawing Sheets



                                         120                                                               130

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                                                                              Secure
                                                            E=>               Receptacle
                    Voting
                   Machine                                                                                             120
                                                                             Serialization
                                                           140               Check
                                                                             System

                       Auditing System

                             Vote                                                           Ballot                  132
                           Counting                      Scanner
                            System
                                                                             <=1          Serializing
                                                                                           System
                                                                   134
                                                                                                                                         EXHIBIT
                        136
                                                                                                         130

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  Auditing System               \___                                I           I




        Vote                                                 Ballot                                 132
       Counting         Scanner
                                                           Serializing
       System
                           134
                                                a           System


   136                                                                                       130
                                                                                                           Case 1:17-cv-02989-AT Document 821-5 Filed 08/26/20 Page 28 of 58




                                1
                         Fig.
C   START                                                         250
                    210

                             Flag For         no
Identify Ballots           Further Review
For Verification
                     220
        I
                                        1260
     Serialize                                            yes
    and Scan                                                       270
     Ballots
                                            no
                    230

    Machine
    Re -count
                /                                         yes
                                                                   280
                                                    Perform
                                                    Manual
  Output List
 Of Identifiers                                    Verification
  And Votes          240


                                          2
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                                   Fig.
                                  START


                                 Serialize
                                  Ballots               222



                                  Check
                                Serialization      270




  Flag For                                                      Scan
Further Review                                                 Ballots    224



    260
                  Perform                                     Machine
                                                                          230
                                     Identify Ballots
                   Manual            For Verification         Re -Count
                 Verification

                                                        210
                 280
                                                                                Case 1:17-cv-02989-AT Document 821-5 Filed 08/26/20 Page 30 of 58




                                      Fig. 3
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           SYSTEM AND METHOD FOR                                          based audits tend to be more efficient than traditional pre-
      MACHINE-ASSISTED ELECTION AUDITING                                  cinct-based audits, since fewer ballots need to be recounted to
                                                                          achieve the same level of confidence in the result. Neff, C.A.,
             CROSS -REFERENCE TO RELATED                                  "Election confidence: A comparison of methodologies and
                     APPLICATIONS                                      5  their relative effectiveness at achieving it," December 2003.
                                                                          For example, in a statewide race in New Jersey, fewer than
   The present application claims the benefit of the filing date          one ballot per precinct (4,599 ballots total) would need to be
 of U.S. Provisional Patent Application Ser. No. 60/952,960               sampled to achieve 99% confidence that the outcome had not
 entitled "System and Method for Machine-Assisted Election                been shifted by more than 0.2%. By contrast, over 150,000
 Auditing" and filed on Jul. 31, 2007, by Inventors Edward W.         10 ballots (6.9% of precincts) would need to be recounted using
 Felten, Joseph A. Calandrino, and J. Alex Halderman.                     standard precinct -based audits (e.g., Stanislevic, H., "Ran-
                                                                          dom auditing of voting systems: How much is enough?,"
        STATEMENT REGARDING FEDERALLY                                    August 2006) to achieve the same confidence.
      SPONSORED RESEARCH OR DEVELOPMENT                                      Neff and Johnson were among the first to propose combin-
                                                                      15 ing ballot -based audit techniques with electronic voting. See
   This work was supported by Department of Homeland                      Johnson, K. C., "Election certification by statistical audit of
 Security Award No. DE-AC05- 060R23100 and National Sci-                 voter verified paper ballots," October 2004. Neff assumes that
 ence Foundation Fellowship 2004016343.                                  the voting machines link each paper ballot to its electronic
                                                                         counterpart using, for example, a unique identifier printed on
           BACKGROUND OF THE INVENTION                                20 the paper ballot and stored with the electronic ballot. When
                                                                         voting is complete, each precinct commits to its set of elec-
     1. Field of the Invention                                           tronic ballots, then demonstrates that the paper ballots in a
     The present invention relates to the field of election audit-       given random sample match the corresponding electronic
 ing.                                                                    ballots.
     2. Brief Description of the Related Art                         25     The primary weakness of this method is that it establishes
     Security analyses of computerized voting systems, includ-           the link between electronic and paper ballots at the time that
 ing DREs and optical scan machines, have exposed numerous               votes are cast. This raises problematic voter privacy issues.
 vulnerabilities that could compromise the integrity of elec-            For example, if the ballots are linked using sequentially
 tions performed using these devices. See Kohno, T., Stubble-            increasing serial numbers, observers could correlate votes
 field, A., Rubin, A., and Wallach, D., "Analysis of an elec-        30 with the order in which they were cast, which can reveal the
 tronic voting system," Proc. 2004 IEEE Symposium on                     identity of voters. While a cryptographic link might protect
 Security and Privacy, pp. 27 -42; Feldman, A., Halderman, J.            privacy, opaque, random -looking identifiers printed on bal-
 A., and Felten, E., "Security analysis of the Diebold Accu-             lots may provide covert channels for leaking voter identities.
 voteTS voting machine," Proc. 2007 USENIX/ACCURATE                      Even if used securely, they might aid malicious parties who
 Electronic Voting Technology Workshop (EVT '07). One pro-           35 seek to intimidate voters by undermining their confidence in
 posed defense against such attacks is to produce voter -veri-           the secrecy of the ballot. Our audit strategy postpones linking
 fied paper records and audit them to ensure that they support           paper and electronic records until the recount phase, which
 the totals claimed by the machines.                                     allows it to achieve equivalent confidence without jeopardiz-
    The most common auditing method is the precinct -based               ing privacy or resorting to cryptography.
 audit, in which workers count all paper ballots from selected       40     Johnson alternatively proposes delaying both vote tallying
 precincts and compare the results to the reported precinct              and serial number printing until after all ballots are submitted,
 tallies. See Appel, A. W., "Effective audit policy for voter            allowing voting machines to be simple, memory-less ballot
 verified paper ballots in New Jersey," February 2007; Rivest,           printers. Voters submit their ballots, which, once polls close,
R. L., "On estimating the size of a statistical audit," Novem-           are randomized and scanned/tallied. The tallying machine is
ber 2006; Rivest, R. L., "On auditing elections whenprecincts        45 therefore able to print serial numbers while scanning without
have different sizes," April 2007; Saltman, R. G., `Effective            privacy risk. Unlike Johnson, we assume that the voting
use of computing technology in vote tallying," Tech. Rep.                machines maintain an electronic tally, which helps deter tra-
NBSIR 75687, National Bureau of Standards, March 1975.                   ditional attacks against paper -based voting, such as ballot -
Unfortunately, performing precinct -based audits can require             box stuffing, and, as we will show, provides opportunities for
considerable time, labor, and expense. These costs are mul-          so improving the efficiency of the audit.
tiplied by the complexity of the ballots in many elections,
which may include dozens of contests. In a trial recount of a                         SUMMARY OF THE INVENTION
DRE paper trail performed in Cobb County, Ga., workers
took an average of 5 minutes per ballot to audit 976 votes at a              The present invention incorporates an alternative audit
total cost of nearly $3,000. Dunn, S., "Voter verifiable paper       55   strategy that substantially reduces these costs by using spe-
audit trail pilot project," Cobb County, Georgia, November                cialized machines to automate most ofthe work ofrecounting
2006. Unless efficiency can be improved, performing a simi-               paper ballots followed by a manual audit of the machine
lar recount of 3% of precincts in New Jersey could cost more              results. The problem with machines, of course, is that the ones
than $200,000. Slow, expensive manual recounts limit the                  used for the recount are not necessarily more trustworthy than
level of confidence that can be achieved within a fixed elec-        60   the ones used in the initial count. They may be useful for
tion budget, and they may delay the detection of errors until             catching inadvertent errors (especially if they use a different
well after election results have been announced and losing                technology and independently developed software), but a
candidates have conceded.                                                 determined attacker could still target both sets of machines.
    Statistical "ballot- based" audits are an alternative to manu-        What we desire is software independence -an assurance that
ally recounting every ballot from selected precincts. Workers        65   any tampering with the machines will not cause undetected
sample from all the paper ballots in all precincts and use the            changes to the election outcome. See Rivest, R. L., and Wack,
sample to assess the accuracy of the original count. Ballot-              J. P., "On the notion of `software independence' in voting
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                                3                                                                    4
  systems," July 2006. To achieve this, we pair recount               paring how many of the randomly selected sample ballots are
  machines with efficient statistical auditing techniques that        associated with the previously reported groups with the num-
  allow humans to confirm that the election outcome is correct.       ber of preliminary sample ballots. If the number of randomly
     In a preferred embodiment of the present invention a novel       selected sample ballots associated with the previously
  audit approach is used wherein ballots are recounted using s reported groups is greater than the number of preliminary
 recounting machines, and their output is manually audited by         sample ballots, randomly selecting from the previously
 humans using ballot -based auditing techniques. The effi-            reported groups an additional number of sample ballots
 ciency of the method of a preferred embodiment of the                equaling a difference between the number of randomly
 present invention is evaluated using data from Virginia's            selected sample ballots associated with the previously
 November 2006 elections, and we find that it enjoys signifi- to reported groups and the number of preliminary sample bal-
 cant gains compared to the traditional precinct -based               lots. If the number of randomly selected sample ballots asso-
 approach. In other embodiments of the present invention,             ciated with the previously reported groups is less than or
 several extensions used to address practical considerations          equal to the number of preliminary sample ballots, perform-
 and to further improve efficiency, including means of using          ing no further verifications in the previously reported groups.
 knowledge of ballot contents to reduce the sample size.          15     In another embodiment, the present invention is a method
     In a preferred embodiment, the present invention is a            for performing a vote audit comprising the steps of estimating
 method for auditing ballots in an election. Each ballot is           a proportion of ballots associated with previously reported
 associated with a voting machine and with one of a plurality         groups to a number of total anticipated ballots cast, estimating
 of groups of ballots. The group may be, for example, all             a minimum number of sample ballots for verification, select -
 ballots from a particular precinct or all ballots from one 2o ing a plurality of preliminary sample ballots from the previ-
 voting machine. Other groupings of ballots may be used as            ously reported groups wherein the number of the preliminary
 well. Each group of ballots has an associated initial ballot         sample ballots selected is greater than or equal to the product
 tally, and each group comprises all ballots associated with at       of the estimated proportion of ballots and the estimated mini-
 least one voting machine. The method comprises the steps of         mum number of sample ballots, identifying all of the previ-
 identifying a subset of groups from which a plurality of 25 ously reported groups of ballots having at least one of the
 sample ballots will be chosen, wherein the subset comprises         preliminary sample ballots, performing vote verification in
 fewer that all of the groups, printing an identifier on each        each identified previously reported group, computing a true
 ballot in each group of ballots in the subset of groups, wherein    minimum number of sample ballots after completion of
 each ballot in each group has a different identifier than every     reporting from all groups, randomly selecting from all ballots
 other ballot in that group, performing a machine re -count of 30 a number of sample ballots equal to the true minimum number
ballots in a group of ballots in the subset, comparing the           of sample ballots, and comparing how many of the randomly
results of the machine re -count to the initial tally of ballots     selected sample ballots are associated with the previously
 associated with the group; and flagging the group as contain-       reported groups with the number of preliminary sample bal-
ing an error if the machine re -count for the group does not         lots. If the number of randomly selected sample ballots asso-
equal the initial tally associated with the group. The steps do 35 ciated with the previously reported groups is greater than the
not need to be performed in the above -referenced order, and         number of preliminary sample ballots, randomly selecting
other sequences of the steps will be apparent to those of skill      from the previously reported groups an additional number of
in the art. The method may further comprise the step of              sample ballots equaling a difference between the number of
determining whether the identifiers were printed correctly on        randomly selected sample ballots associated with the previ-
the ballots. Each group may comprise, for example, all ballots       ously reported groups and the number of preliminary sample
associated with one particular voting machine. The method            ballots. If the number of randomly selected sample ballots
may further comprise the step of identifying a plurality ofthe       associated with the previously reported groups is less than or
groups ofballots from each of which at least one ballot will be      equal to the number of preliminary sample ballots, perform-
selected for manual verification, selecting a plurality of bal-      ing no further verifications in the previously reported groups.
lots for manual verification and/or performing manual veri- 45 The step of performing a vote verification in each identified
fication of a plurality of ballots. In a preferred embodiment,       previously reported group comprising the steps of performing
the identifier is a serial number, but other types of identifiers    a machine re -count of ballots associated with each identified
may be used.                                                         previously reported group and performing manual verifica-
    In another embodiment of the invention, the step of iden-        tion of each preliminary sample ballot associated with each
tifying a subset of the plurality of the groups is performed so identified previously reported group. The step of randomly
before all voting precincts have reported their votes. The step      selecting ballots comprising randomly selecting each ballot
of identifying a subset of the plurality of groups may com-          with equal probability or randomly selecting ballots with
prise the steps of estimating a proportion of ballots associated     weighted probabilities. In another embodiment, the step of
with previously reported groups to a number of total antici-         estimating a minimum number of sample ballots for verifica-
pated ballots cast, estimating a minimum number of sample 55 tion may based upon an expected number of switched ballots
ballots for verification, selecting a plurality of preliminary       necessary to change the outcome of an election.
sample ballots from the previously reported groups wherein              In still another embodiment, the present invention is a
the number of preliminary sample ballots selected is greater         method for performing a vote audit of ballots in an election
than or equal to the product of the estimated proportion of          comprising the steps of calculating a minimum number of
ballots and the estimated minimum number of sample ballots, 60 sample ballots for verification based upon the number of the
and identifying all ofthe previously reported groups of ballots      ballots and the contents of the ballots, selecting sample bal-
having at least one of the preliminary sample ballots.               lots for verification based upon the contents of the ballots,
    In other embodiments, the method may further comprise            performing verifications of the sample ballots.
the steps of computing a true minimum number of sample                  In another embodiment, the present invention is a system
ballots after completion of reporting from all groups, ran- 65 for performing a vote audit that comprises means for identi-
domly selecting from all ballots a number of sample ballots          fying a subset of groups from which a plurality of sample
equal to the true minimum number of sample ballots, coin-            ballots will be chosen, wherein the subset comprises fewer
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  than all of the groups, means for printing an identifier on each       machine 130 that functions like a combined optical scanner
  ballot in each group of ballots in the subset of groups, wherein       134, printer or ballot serializing system 132, and vote count-
  each ballot in each group has a different identifier than every        ing system 136.
  other ballot in that group, mean for performing a machine                  In a preferred embodiment of the method of the present
 re-count of ballots in a group of ballots in the subset, means 5 invention will be described with reference to FIG. 2. After a
 for comparing the results of the machine re -count to the initial       group of ballots is identified for a re -count at step 210, the
 tally of ballots associated with the group; and means for               auditing machine 130 scans the contents of each ballot and
 flagging the group as containing an error if the machine                prints an identifier on the each ballot 220 and stores the
 re -count for the group does not equal the initial tally associ-        identifier along with the associated ballot contents. The iden-
                                                                     lo tifier may be a unique serial number or may be any other
 ated with the group.
     Still other aspects, features, and advantages of the present
                                                                         identifier that permits each ballot to be distinguished from
                                                                         other ballots in a similar group. For example, each ballot from
 invention are readily apparent from the following detailed
                                                                         one particular precinct could receive and identifier that dis-
 description, simply by illustrating a preferable embodiments
                                                                         tinguishes it from all other ballots from that particular pre-
 and implementations. The present invention is also capable of 15 cinct. In this example, the identifiers do
                                                                                                                     not need to be differ-
 other and different embodiments and its several details can be          ent than identifiers assigned to ballots from other precincts.
 modified in various obvious respects, all without departing             Similarly, each ballot from one voting machine could contain
 from the spirit and scope of the present invention. Accord-             an identifier that distinguishes the ballot from all other ballots
 ingly, the drawings and descriptions are to be regarded as              from that particular voting machine. In other words, the iden-
 illustrative in nature, and not as restrictive. Additional objects 20 tifier may be truly unique or may just be unique within a
 and advantages of the invention will be set forth in part in the        particular group of ballots, such as all ballots from one pre-
 description which follows and in part will be obvious from the          cinct or all ballots from one voting machine. The present
 description, or may be learned by practice of the invention.            invention may be used with other groupings of ballots and
                                                                         such other groupings will be apparent to those of skill in the
          BRIEF DESCRIPTION OF THE DRAWINGS                         25 art.
                                                                            At the end of the scanning process, the machine re-counts
    For a more complete understanding of the present inven-              the votes 230 and outputs a list of votes on each ballot together
 tion and the advantages thereof, reference is now made to the           with the ballot's identifier 240. While this is referred to in
 following description and the accompanying drawings, in                 FIG. 2 as serializing, it should be understood that identifiers
 which:                                                             30 other than serial numbers may be used. The results of the
    FIG. 1 is a block diagram of a vote auditing system in              re -count are compared to the initial tally ofvotes 250. If the
 accordance with a preferred embodiment of the present                  re -count tallies differ from the initially reported electronic
 invention.                                                             count, discrepancies clearly exist and a wider investigation
    FIG. 2 is a flow diagram of an overview of a preferred               should be conducted 260. Depending on circumstances, an
                                                                    35 appropriate response might be to inspect the corresponding
embodiment of a method in accordance with the present
                                                                        machines, other machines of the same model, other ballots in
invention.
                                                                        that precinct, etc. Other responses will be apparent those of
    FIG. 3 is a flow diagram of an overview of an alternate
                                                                        skill in the art.
preferred embodiment of a method in accordance with the                     If both tallies match, the workers perform a secondary
present invention.                                                  40 audit 270 to check the accuracy of the machine's recount. For
                                                                        example, with sequential serial numbers they may first
     DETAILED DESCRIPTION OF THE PREFERRED                              quickly flip through the pile of numbered ballots to ensure
                        EMBODIMENTS                                     that it increases sequentially from one to the reported ballot
                                                                        total without repeats. This check helps protect against collu-
    In a preferred embodiment of the present invention, manual 45 sion between voting and recount machines, as described
precinct -based audits are replaced with machine- assisted              shortly. Other means for ensuring that the number of paper
audits. As shown in FIG. 1, voters cast votes at a voting               and electronic ballots match may be used, such as an elec-
machine 110. The voting machine may be of any type, elec-               tronic check of the identifiers. If the check reveals some type
tronic or otherwise. When a vote is cast, a hard copy record            of inaccuracy, the group of ballots are flagged for further
120 of the vote is generated, by hand or by the voting so investigation 260. If the check confirms the identifiers have
machine. For privacy reasons, the hard copy record preferably           been printed (and/or assigned) accurately, a manual verifica-
does not have any information, or has as little information as          tion is performed 280. For example, poll workers may take a
possible, that could be used to associate that ballot with a            random sample of the electronic ballot records, retrieve the
particular voter. The hard copy record 120 is placed into a             corresponding paper ballots, and verify that they match.
secure receptacle 130. When a re -count or audit of the votes is 55         In a preferred embodiment in which the identifiers are
to be performed, the hard copy records are fed into a re -count         serial numbers, since the ballots are serialized and fed out of
or auditing machine 130. The vote auditing machine may                  the machine in order, retrieving a particular ballot for verifi-
have, for example, a ballot serializing system 132 for assign-          cation requires very little effort. The most significant labor
ing and printing identifiers on the hard copy records, a scan-          required may be to check for repeats, which given sequential
ner 134 for scanning the hard copy records, and a vote count- 60 ordering, is a rapid single-pass process.
ing system for counting the votes on the scanned ballots. As                In practice, separate devices may be used to perform the
discussed below, a serialization or identifier check preferably         printing and scanning functions of the recount machine.
is performed manually, but alternate embodiments with an                When voting is complete, a printer device could place serial
electronic checking system 140 also are possible with the               numbers on the ballots, and then a separate scanner could read
present invention. When a recount of a group of votes is to be 65 the numbers along with the votes. In precincts utilizing opti-
performed, poll workers, rather than recounting ballots                 cal scan machines, properly designed machines could per-
manually, feed them through a specialized recount or auditing           form both the initial count and the recount: this option
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  decreases costs but reduces redundancy. If the same machine              serial numbers and ensures that the number of paper ballots
  performs counts, recounts, and printing, officials must have             matches the total reported number of electronic ballots.
  some means ofmechanically disabling the printer while polls                 If no errors are detected before the sampling phase, we
  are open, such as removal of the printer head. Printers also             know that we have a set of electronic ballots from the recount
 must be physically unable to alter the record of the vote on the 5 machine that supports the initial electronic tally and an equal -
 ballot. They could be designed so that they cannot reach                  sized set of paper ballots with corresponding serial numbers.
 outside of a predefined empty margin on ballots, or they could            We designed the sampling process specifically to detect dis-
 utilize akind ofinkthat would be immediately apparent when                crepancies between these sets significant enough to affect the
 ballots were inspected.
                                                                           election's outcome. Unless an error or adversary modified
    Further, various steps in the method may be performed in uo
                                                                           both the initial electronic tally and the paper ballots, the
 other sequences or may be split into multiple steps, such as
                                                                           manual audit should catch any remaining errors with a high
 serialization 222 and scanning 224 of ballots, as shown in
 FIG. 3. Other variations in the sequence of steps will be                 level of confidence.
 apparent to those of ordinary skill in the art.                           Privacy
 Security                                                              15     The present invention avoids many of the privacy issues
    The redundancy of combining electronic and paper -based                inherent in some earlier ballot -based audit methods that
 systems increases the security of the overall system. With                involve placing identifiers on ballots during the voting pro-
 high probability, the manual audit process detects any dis-               cess. In the present invention, the ballots do not receive serial
 crepancies between the sets of electronic and paper ballots              numbers or other identifiers until the recount phase, so they
 that are substantial enough to impact the election's outcome. 20 are likely to become at least partially reordered before being
 Because the process checks the correspondence between the                numbered. Well- designed ballot boxes and cut -and -drop
 sets of ballots, measures improving the integrity of either set          paper trail systems assure that the papers are somewhat
 increase the overall integrity of the election result. Since both         shuffled as they are inserted. Since voters widely trust these
 the electronic and paper ballot sets must remain similar for a           methods to frustrate correlation with voter check -in times,
 discrepancy to avoid detection, combined systems are more 25 this provides significant practical privacy benefits. Should
 likely to detect malfunctions, and they increase the sophisti-           alternative ballot shuffling methods offer greater protection,
 cation necessary to commit fraud.                                        officials may substitute such methods without modifying the
    For an error to go undetected, the voting machine must                audit process. In any case, the recount machine has no more
 report an incorrect electronic tally, the recount machine must           information about the order of votes than would workers
 support the incorrect tally, and the manual audit process must 30 performing
                                                                                        a manual recount.
 not detect a discrepancy between the paper and electronic
                                                                              Another benefit of this technique is that a voting machine
 ballot records.
                                                                          need only maintain tallies rather than electronic copies of
    A malfunctioning or dishonest voting machine may add,
 subtract, or switch votes to introduce errors in its electronic          individual ballots. These tallies preferably include the total
tallies. If election officials maintain an accurate sign -in list for 3 5 number of ballots submitted and the total number of votes for
the precinct, any significant discrepancy in the total number             each option. Thus, voting machine designers do not need to
 ofreported ballots and, consequently, votes will be detected.            worry about properly shuffling electronic ballots to protect
Therefore, the voting machine is limited to switching votes               voter privacy or about maintaining storage for those ballots.
from one candidate to another.                                            However, if the same machines perform counts and recounts,
    For a recount machine to support an incorrect electronic 40 which may be the case with the present invention, they must
tally, either the set of paper ballots must match the incorrect           have some means of attaching extra memory during the
tally, or the machine must fail to detect a discrepancy. The set          recount for storing the ballot scan results.
of paper ballots can only match the tally if either the voting            What to Audit
machine printed an incorrect set of paper ballots or another                  Due to the popularity ofplurality voting systems in the U.S.
party modified that set. If voters generally verify their paper 45 we consider those systems in the preferred embodiments,
ballots, the ballot box will likely contain an accurate paper             though machine -assisted audits may be useful in many other
ballot for most voters when polls close. While the voting                 voting systems. With plurality voting, voters may choose a
machine may print additional, incorrect ballots, this would               number of candidates equal to the number of seats available.
cause the number of paper ballots to exceed the electronic                (This is a mild misuse of the term plurality system: other
ballot total, which reflects the number of voters, so an accu- so forms of plurality voting for multiple candidates exist. See
rate recount machine would detect this discrepancy. The                   Ace Electoral Knowledge Network, Plurality /majority sys-
simple, sequential nature of machine- assisted auditing also              tems, 2006. http:// aceproject .org /aceen/topics/es /esd/esd01/
reduces opportunities for adversaries to modify paper ballots             .) Ifk seats are available, voters may select up to k candidates,
during the audit. Assuming that no adversary can modify the               and candidates receiving the top k vote totals are the victors.
set of paper ballots, only recount machine malfunction, 55 This definition is an extension of the familiar single -seat
whether accidental or malicious, would allow the discrepancy              contest.
to go undetected.                                                             An audit process need only sample enough ballots to con-
    A malfunctioning recount machine may report incorrect                 fidently detect the minimum amount of fraud that would have
electronic ballots that agree with any incorrect electronic tally         affected the election's outcome. To modify the fewest ballots
regardless of the true paper ballots. The machine may even 60 while changing the outcome, an adversary would swap the
collude with other parties by omitting or printing incorrect              positions of the losing candidate with the most votes and the
serial numbers on paper ballots to hide errors. For example, a            victor with fewest votes. Switching votes directly between
voting machine may print additional paper ballots with desir-             these candidates requires the fewest ballot changes, as each
able votes, and a recounting machine may reuse serial num-                switch alters the relative difference by two. To do so, the
bers on certain undesirable voter -verified paper ballots to 65 adversary would take ballots with votes for candidate A but
effectively replace them with the additional ballots. The                 not B and change them to contain votes for B but not A.
manual check of serial numbers detects duplicate or omitted               Therefore, we need only audit enough ballots to discover
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fraud that alters a number of ballots equal to half the differ-    Varying Sample Size Method
ence (rounded up) in vote totals between the `just losing" and        Rivest proposes an efficient precinct -based auditing tech-
lust winning" candidates.                                          nique in which, rather than drawing a given -size sample from
   Two techniques are described for selecting which ballots        the population of precincts, auditors instead randomly select
and precincts need to be audited. The first technique has the 5 each precinct with a given probability. The same idea is also
benefit of a constant sample size given the number of ballots,     useful in the context of ballot -based auditing. Assume that, to
the margin of victory, and the desired level of confidence.        change the results of an election, the set of ballots must
Sample size may vary with the second approach, but that            contain a minimum of B bad ballots. To achieve a confidence
approach is more amenable to extensions of the present inven-      level of c that at least one bad ballot will be sampled, auditors
                                                                lo
tion discussed below.                                              may select each ballot with probability p chosen such that
Constant Sample Size Method                                        (1-p)B--1 -c, or p? 1- (1 -c)va
   The hypergeometric distribution describes the number of            Officials may follow the same process as before for gener-
bad ballots an auditor can expect to find when sampling            ating a key and may apply a pseudorandom function to a
without replacement. Assume that auditors desire a confi- 15 unique identifier for each ballot (for example, l to N, where N
dence level c that no fraud significant enough to change the       is the total number of ballots in all precincts voting on the
election's outcome occurred. Given N total ballots and a           given issue), mapping the result back to [0,1] to determine
minimum of B incorrect ballots, the probability mass function      whether to check the ballot.
of the hypergeometric distribution dictates a minimum                 To determine which precincts need to be audited, we may
sample size, n, of:                                             20 calculate the probability that one or more of the v, ballots in
                                                                   precinct i will be sampled as 1- (1 -p)"d. Auditors may select
                                                                   each precinct based on the probability that it contains a
                                                            (1)    sampled ballot. If so, officials perform a machine recount in
                             1IN-B-k'
                                 N-k     c                         that precinct. Given that at least one ballot is sampled in a
                                                                25 precinct, the probability of sampling k ballots in that precinct
                           k=0


                                                                        is:
A simple computer program can rapidly, verifiably calculate
n for any practical value of N.
                                                                                                                                     (2)
   After all precincts report their recount results and scanned                               l   k )Pk
                                                                                                          (1- PP-k)
                                                                   30
ballots, state officials randomly select n ballots to check. To                                    1-(1-P)`')
do so, officials assign each ballot an equivalent portion of the
range of a pseudorandom function. Since sampling occurs
                                                                           Following the machine recount, officials randomly select
without replacement, the officials must alter the assignments
                                                                        the precinct's sample size based on this distribution. As
appropriately after each draw. Representatives for all candi-
                                                                     35 before, officials should generate a new key immediately fol-
dates or issues in a race may assist in randomly generating a
                                                                        lowing the machine recount of selected precincts.
key for the function (for example, consider Cordero, A., Wag-           Comparison to the Method of Rivest
ner, D., And Dill, D., "The role of dice in election audits                Assume use of the audit method in Section 3.2, and let
extended abstract," IAVoSS Workshop on Trastx'orthy Elec-               p= 1- (1- c)1a3. The probability that precinct i requires a
tions 2006). The state then evaluates the function, with the 4o machine recount is therefore p= 1- (1-c) "¡LB. Nan adversary
randomly generated key, for the numbers one through u.                  can steal any number of votes in a precinct without generating
    Because officials select ballots at random with respect to          suspicion, Rivest proposes a logistic precinct -based approach
any given race, officials may use the same ballot from audit-           that yields the same precinct audit probability. For machine-
ing one race in auditing any other race appearing on that               assisted auditing, however, auditors need only manually
ballot, provided that all voters eligible to vote in the latter race 45 review a subset of the recounted ballots.
are also eligible to vote in the former. This reduces the number           Rivest presents his logistic approach as a non -optimal heu-
of ballots to retrieve. Note that the correlation between votes         ristic, so the usefulness of this link seems limited. Further-
on a given ballot prevent us from gaining additional assurance          more, the percentage of votes in a precinct that one may steal
from using the same ballots for multiple races, but officials           without generating suspicion is more likely 10 -20% than the
still gain confidence c in the results of each race.                 so 100% assumed here. In light of this, a performance compari-
   Amachine recount of a precinct is only necessary if a ballot         son between Rivest's optimal precinct-based techniques and
will be selected for manual verification in that precinct. Thus,        our methods under realistic circumstances would be informa-
auditors could use the initial electronic tallies to perform a          tive.
                                                                        Evaluation
mock ballot selection before the machine recount. Any pre-
                                                                     55    To evaluate the efficiency of machine-assisted auditing
cinct which would have contained a chosen ballot given the
                                                                        (and ballot -based auditing in general) versus precinct -based
mock selection will undergo a machine recount. Following                auditing, we consider both techniques in the context of avail-
the machine recount, representatives must generate a new                able data from Virginia's November 2006 elections, both for
key. Because a pseudorandom function is deterministic, an               local and statewide races. In this example, we considered all
adversary with knowledge of the key prior to the machine 60 races from the available Virginia data. Some local races are
recount could determine which serial numbers will be                    absent, so we ignore those. Due to minor absences in the data
sampled for manual review following the recount. Such an                set, we assume that no voter submitting a ballot abstains from
adversary could collude with the recount machine to hide                voting on an issue and that voters for multi -seat races submit
fraud under serial numbers that will not be sampled Officials           multiple ballots rather than a single ballot with multiple selec-
may then randomly select a single ballot from each recounted 65 tions. While these assumptions slightly affect the realism of
precinct and randomly draw the remaining required ballots               the tests, they likely had only a minor impact on the over-
from the full pool in all recounted precincts.                          whelming results.
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     In all cases, we seek a 99% confidence level. For machine-      Extensions
 assisted auditing, we use the techniques discussed above. For          In this section, we consider a number of methods for
 precinct -based auditing, we use the methods and assumptions        increasing the efficiency, practicality, and utility of machine-
 in: auditors choose precincts uniformly at random, an adver-        assisted audits.
 sary may switch no more than a set percentage of the votes in    5  Handling Misreadings
                                                                        With some small probability, auditors might misread a
 a precinct without arousing suspicion (we use 10 %), and the
                                                                     paper ballot and falsely conclude that it either does or does not
 adversary may switch votes in the largest possible precincts        match the corresponding electronic ballot. Accidentally con-
    Virginia contains 2,599 precincts and approximately 4.6          cluding that the two versions of a ballot do not match is not an
 million registered voters, nearly 53% of whom cast ballots          issue: auditors would certainly immediately double -check
                                                                  to
 during the November 2006 election. The general election             any such ballots. The opposite error would be more serious.
 decided nineteen issues: four statewide issues, including a         We would expect its probability to be low, however, espe-
 U.S. Senate race and several statewide initiatives, and fifteen     cially in larger elections. In that case, the number of ballots to
 smaller races, such as U.S. House races. In addition, voters        check per precinct will often be relatively small, meaning that
 considered numerous local ballot issues, ranging from city 15 auditors are less likely to become careless. In addition, the
 council elections to school constructions projects. Virginia        state may request and double-check copies of the paper bal-
 State Board Of Elections, General election -Nov. 7, 2006.           lots against the reported electronic ballots.
http: //www2.sbe.virginia.gov   /web     docs/Election/results/         If auditor error is a serious risk, Johnson offers a starting
 2006/Nov/htm/index.htm. Because auditing is typically both          point for adapting sample sizes to overcome such errors,
more important and more labor- intensive in closer races, we 20 assuming use of the ballot -based audit techniques discussed
                                                                     above. If officials are instead using the precinct-based meth-
focus on such races, excluding consideration of races for
                                                                     ods discussed above, these errors are easy to manage. Sup-
which modification of 10% or more ofthe ballots would have
                                                                     pose that an auditor misclassifies a mismatch as a match with
been necessary to change the outcome. This choice rules out          probability m. In this case, the true probability of detecting a
many of the races but leaves a set of 49 remaining. Seven of         bad ballot will not be p but will instead be p(1 -m). Thus, p
those remaining were general election issues and forty -two 25 must be chosen such that p?[1-(1 -c)' ]/(1 -m).
were local issues.                                                   Early Returns
    The remaining general election issues include a U.S. Sen-           A variety of circumstances may result in delayed reporting
ate race with a margin of victory of 0.39 %, four U.S. House         from certain precincts. Precincts that report in a timely man-
races, a race for the Virginia House of Delegates, and a state       ner might wish to begin the audit process without waiting
constitutional amendment. For those races, machine- assisted 30 hours or days fora complete initial tally. Given partial returns,
auditing would require a manual review of approximately 437          auditors may assume reasonable or worst case scenarios from
ballots on average-0.06% of the 796,469 average total bal-           the remaining precincts and begin the audit under those
lots. Only the smaller House of Delegates race would require         assumptions. Once all precincts have reported, unexpected
review of greater than 1% of the ballots (1.05 %), and five of 35 results might force additional sampling from previously
seven races require audit rates under 0.1 %. Precinct -based         reported precincts, but the bulk of the audit process may
auditing would review approximately 177,849 ballots on               already be complete.
average-22.33% of the average total ballots. In each case,              Assuming the ballot-based methods discussed above, this
precinct -based auditing requires an expected hand count of          means that auditors could estimate both the proportion of
more than 42 times as many ballots. The closely contested 40 ballots cast in previously reported precincts (q) and the nec-
U.S. Senate race would require review of 2,337 of 2,370,445          essary sample size (n'). They may then select d?n'q ballots
ballots with machine-assisted auditing and 1,141,900 ballots         from the already- reported precincts. After reporting is com-
                                                                     plete, auditors could compute the true sample size, create a
on average with precinct -based auditing.
                                                                     one -to -one mapping between all reported ballots and {1, ..
    While less overwhelming, the results for local ballot issues      N} and randomly select n values from that set. If d or fewer


2.28% of the 9,842 average total ballots. Precinct-based
                                                              -
are highly favorable as well. In this case, machine- assisted 45 ,of the selected values correspond to ballots in previously
audits would review approximately 224 ballots on average             reported precincts, no additional sampling is necessary in
                                                                     those precincts. If more than d values correspond to those
audits would require manual review of approximately 3,928            precincts, that number minus d additional ballots must be
ballots on average-39.91% of the average total ballots. Only         drawn from the precincts. Similarly, auditors must select a
five of the forty -two races would require a manual review of 50 number of ballots from the late reporters equal to the number
more than 50% of the ballots with machine-assisted audits. In        of selected values corresponding to ballots in those precincts.
contrast, only six of the forty -two races would require a              Using the precinct -based methods discussed above, audi-
review of less than 50% of the ballots on average with pre-          tors would calculate p' based on the expected number of
cinct -based audits. Precinct -based audits would require a          switched ballots required to change the outcome and begin
                                                                 55
complete recount in more than half of the cases.                     sampling. Once all results are reported, officials may calcu-
    The races that are particularly difficult for machine-as-        late the true value of p and use it for newly reported ballots. If
sisted auditing are town council, city council, and school           the final margin of victory is smaller than expected, they also
                                                                     must sample previously reported but unsampled ballots with
                     -
board races with 7/492, 5/849, 12/769, 7/246, and 3/2409
margins of victory requiring manual review of 68.3 %, 60 probability
78.4 %, 53.4 %, 68.3 %, and 90.0% of ballots respectively. In
each of these cases, precinct -based auditing would require a
                                                                                                         1 -p
full recount.                                                                                  p"=1--    1-p'
    If comparing machine- assisted audits and precinct -based
audits purely on the number of manual ballot reviews, these 65
results indicate a conclusive advantage for machine- assisted        yielding an over /all selection probability of p for those bal-
audits.                                                              lots.
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      Varying Probability by Precinct
         In a precinct -based method, the sampling process selects
                                                                                       didate receiving a vote on that ballot. At least  vs    Vk,,
                                                                                       votes would need to be added to move such a candidate
      each ballot with equal probability. That process need not do
                                                                                       from a losing position to a winning position.
      so. For example, officials may prefer to reduce the probability
     that ballots are selected in extremely small precincts, thereby               If C, exists, we must consider the possibility that the ballot
                                                                           5          contains a fraudulently removed vote for any losing
     reducing the probability that machine recounts (and recount
     machines) will be necessary for a large number of small                          candidate without a vote on that ballot. At least vk-vs
     precincts. The only constraint that the audit process must                       votes would need to be removed to move such a candi-
     satisfy is that, given any set ofballots of size B or larger with                date from a winning position to a losing position.
     corresponding selection probabilities pi, ... , Pa, (1                        If Cs and C, both exist, we must consider both previous
   (1          c.
          p2,)_1
                                                              pi)
                     Thus, auditors may entirely ignore small pre-
                                                                     .
                                                                     .   .
                                                                          10
                                                                                      cases along with the possibility that a vote was fraudu-
     cincts in some cases provided that they increase the probabil-                   lently switched from a losing candidate without a vote
     ity of sampling ballots in other precincts to compensate.                        on that ballot to a winning candidate receiving a vote. At
    Hybrid Strategies                                                                 least
        The line between precinct -based auditing and machine- 15
    assisted ballot-based auditing need not be so fine. States could
    use machines to perform recounts in randomly selected pre-
    cincts then audit the machine results. The embodiment of the
    previous section technically does this, but the probability of
    selecting a precinct need not be directly based on the prob- 20                  votes would need to be switched to swap the relative
    ability of selecting its underlying ballots. This is similar to a                positions of two such candidates.
    dial that auditors could turn. Assume a desired confidence                    If neither Cs nor C, exist, the ballot could not have been part
    level c. At one extreme, machines could recount all precincts,             of fraudulent activity that changed the election's result, so we
    and auditors could sample ballots such that the overall prob-              may ignore it. Otherwise, let B equal the minimum amount of
   ability of uncovering a bad ballot      -if   enough are bad to 25 fraud necessary for any of the applicable cases above.
   impact the outcome   -is    c. This is a machine- assisted ballot -         before, the ballot must be manually checked with probability
                                                                                                                                                As
   based audit approach.
       At the other extreme, auditors could select precincts such
                                                                                             1
                                                                              p such that p? (1 c)lia
                                                                                 If ballots contain votes for more than one race, we must
   a bad ballotif
   that the probability that at least one selected precinct contains
                      enough are bad to impact the outcome
   and auditors could manually check all ballots in those pre-
                                                               -is
                                                                              manually check ballots with the maximum probability nec-
                                                                   c, 30 essary for any individual race/vote combination on that ballot.
                                                                              Considering Initial Returns
   cincts. This is precinct -based auditing. In either case, the                 Similar tricks may also be useful given only reported initial
   probability of detecting fraud significant enough to affect the            electronic vote tallies. A precinct in which initial tallies indi-
   election's outcome is c. Between these two possibilities, one              cate that all ballots contain votes for Bob could not have
  could trade a greater expected number of machine recounts 35 contributed to
                                                                                               discrepancies affecting the election's outcome,
  for a smaller expected proportion of manual recounts and vice               so both machine- assisted and precinct -based auditing could
  versa to achieve a confidence level of c. Depending on the                  ignore that precinct entirely. In a single -seat race, a ballot may
  costs and benefits of each, states may choose whatever bal-                 contain a single vote at most, so we may determine the precise
  ance is most appropriate for their specific circumstances.                 ballot contents for that race from the initial electronic tallies
  Considering Ballot Contents                                           40 alone and use that to calculate an appropriate probability
      Consider a two- candidate mayoral race in which the elec-                                                                                 of
                                                                             manually verifying each ballot.
  tronic results indicate that Alice beat Bob 10,001 to 10,000.                 As we increase the number of available seats, competing
  Traditional audit techniques would require that officials con-             candidates, and races on a ballot, inferences tend to become
  sider ballots containing votes for either candidate even                   more difficult and less beneficial. The added complexity is a
 though the primary objective is to discover whether any votes 45 result of an
                                                                                            increase in the number of possible vote combina-
 for Alice should have been for Bob. Examining only ballots                  tions on a ballot. One may still draw inferences from the
 reported to contain votes for Alice could cut auditor work                  ballots, however. For example, if 43% of ballots contain a
 nearly in half, as auditors seek to discover an equivalent                  vote for the "just losing" candidate, we know that 43% ofthe
 amount of fraud in a far smaller pool of ballots. In general, by            ballots could not have had a vote for that candidate removed
 considering the contents of ballots, officials may reduce the so or switched to
                                                                                               another candidate. As vote totals in complex
 number of manual verifications required. Note that, to apply                multi -seat races become more tightly clustered, the compli-
 these methods, either a full machine recount of all precincts or            cation of drawing inferences might counterbalance the
 some other means of obtaining a full set of electronic ballots              increasingly minor benefits of those inferences. A test ofthese
 is necessary. For the remainder of this section, we assume use             methods on real elections data might help to better establish
 of the above described precinct -based audit process.                 55 which cases benefit from these techniques.
     Assume a race in which n candidates are competing for k                Write-Ins
                       v
 seats, and let vl, ... , be the vote totals for the candidates in              Machine -assisted audits can easily handle the case in
decreasing order. Therefore, vl, . , vk correspond to winning              which all write -in candidates are put in a machine-readable
candidates. Because a single ballot may contain votes for up               form, whether by voters or by election officials. They also
to k candidates, we need to consider the combination of votes 6o may handle
on each ballot. Let Cs, where 1    sk,      be the winning candi-
date with the lowest vote total that received a vote on the
                                                                                             the case in which voters may not write -in a
                                                                           candidate already appearing on the ballot by treating all
                                                                           write -in votes as votes for a single additional candidate. Oth-
ballot. Let Ct, where k +1. tg.n, be the losing candidate with             erwise, ifthe number of write -in votes is insufficient to affect
the highest vote total that did not receive a vote on the ballot.          the outcome of the election (given initial tallies), we may
We need to look for several possibilities:                             65 assume whatever combination of write -in votes results
    If Cs exists, we must consider the possibility that the ballot                                                                         in the
                                                                           closest possible election and search for the necessary quantity
        contains a fraudulently added vote for any winning can-            of fraud in ballots not containing write -in votes.
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    If write -in votes could change the results of the election, a             and each said group comprises all of said ballots associated
count of those votes will ultimately be necessary before cer-                  with at least one of said voting machines, the method com-
tification of the election. Given     that the count  of ballots   with        prising the steps of:
write -ins is manually performed, we may simply audit the                         identifying a subset of said plurality of said groups from
remaining,     machine-  recounted    ballots to discover   any   fraud   5          which a plurality of sample ballots will be chosen,
large enough to affect the outcome. If write -in ballots are                          wherein said subset comprises fewer than all of said
machine- scanned, we may add a serial number printer to that                          groups, wherein said step of identifying a subset com-
scanner and sample ballots from the full pool. Given the                              prises the steps of:
relatively small quantity of write -ins in many elections, we                         estimating a proportion of ballots associated with previ-
expect this to rarely be a significant issue in practice.                 io
                                                                                         ously reported groups to a number of total anticipated
Machine Malfunction                                                                      ballots cast;
    Presumably, some percentage of recount machines will                              estimating a minimum number of sample ballots for
occasionally fail. While a failure would cause a delay in the                            verification;
audit process for the affected precinct, the delay would only                         selecting   a plurality of preliminary sample ballots from
be for that precinct. All other precincts could proceed nor- is                          said previously    reported groups wherein the number
mally, and the affected precinct could wait for repairs or                                                      sample ballots selected is greater
                                                              If voting                  of said  preliminary
obtain a recount machine from a completed precinct.                                                         the product of said estimated propor-
                                                                                         than  or equal  to
machines fail, the failures could delay initial tally reports
                                 As  discussed   above,  such   a delay                  tion of ballots  and said estimated minimum number of
from the affected precincts.
need not hold up other precincts.                                         20              sample ballots; and
Candidate Assurance                                                                   identifying all of said previously reported groups of
    To give candidates additional assurance that the audit pro-                          ballots having at least one of said preliminary sample
cess did not miss or under -sample precincts in which fraud                              ballots;
seems apparent, Appel introduces the idea of allowing can-                        printing an identifier on each ballot in each group of ballots
didates to select a small number of additional precincts and 25                        in said subset of groups, wherein each ballot in each
pay for full manual recounts of those precincts (candidates                           group has a different identifier than every other ballot in
are reimbursed if errors are uncovered). We would recom-                              the same group;
mend that any practical system based on this paper allow for                       performing a machine re -count of ballots in a group of
 such an idea. Even if the possibility is unlikely, any process                       ballots in said subset;
 short of a total recount could occasionally miss fraud obvious 30                 comparing results of said machine re-count to said initial
 to a human. In addition, candidates skeptical towards the                             tally of ballots associated with said re- counted group;
 audit process have an alternative route of uncovering fraud.                          and
 Appel explains and motivates this idea further.                                   flagging said re- counted group as containing an error if
                                                                                       said machine re -count for said re- counted group does
                           CONCLUSION                                      35
                                                                                       not equal said initial tally associated with said
                                                       public   that  an               re-counted group.
    A well -designed audit process assures the
                                                                                   2. A method according to claim 1, further comprising the
 election's outcome is the product of voters' intentions, not
 fraud or voting machine flaws. By adding a novel machine-                      step of determining whether said identifiers were printed
 assisted recount procedure to ballot -based audits, we can 40 correctly on said ballots.
 enjoy the efficiency benefits of those audits while avoiding                      3. A method according to claim 1, wherein said re- counted
 privacy concerns and retaining        the security  benefits  of  com-         group    comprises all ballots associated with one particular
 bined paper/electronic solutions. The tests using data from                    voting machine.
 Virginia's November 2006 elections confirm the efficiency                         4. A method according to claim 1, wherein said re- counted
 advantages of machine-assisted audits, and the extended 45 group comprises all ballots associated with one particular
 techniques that we propose promise to reduce even further the                  voting precinct.
 number of ballots that need to be inspected by humans.                            5. A method according to claim 1, further comprising the
     The foregoing description of the preferred embodiment of                   step of identifying a plurality of groups of ballots in said
 the invention has been presented for purposes of illustration                  subset from each of which at least one ballot will be selected
 and description. It is not intended     to be  exhaustive   or  to limit  50   for manual verification.
 the invention to the precise form disclosed, and modifications                     6. A method according to claim 1, further comprising the
 and   variations  are  possible in  light of the  above  teachings    or       step   of selecting a plurality of ballots for manual verification.
 may be acquired from practice ofthe invention. The embodi-                         7. A method according to claim 6, further comprising the
 ment was chosen and described in order to explain the prin-                    step of performing manual verification of said selected plu-
 ciples of the   invention  and  its practical  application   to  enable   55   rality of ballots.
 one skilled in the art to utilize the invention in various                         8. A method according to claim 1, wherein said identifier
 embodiments as are suited to the particular use contemplated.                  comprises a serial number.
 It is intended that the scope of the invention be defined by the                   9. A method according to claim 1, wherein said step of
 claims appended hereto, and their equivalents. The entirety of                 identifying a subset of said plurality of said groups is per-
  each of the aforementioned documents is incorporated by 60 formed before all voting precincts have reported their votes.
 reference herein.                                                                  10. A method according to claim 1, further comprises the
                                                                                 steps of:
     What is claimed is:                                                            computing a true minimum number of sample ballots after
     1.A method for auditing ballots cast in an election, wherein                       completion of reporting from all groups;
  each said   ballot is associated  with  one  of a plurality  of voting    65      randomly     selecting from all ballots a number of sample
  machines and one of a plurality of groups            of  said   ballots               ballots  equal  to said true minimum number of sample
  wherein each said group has an associated initial ballot tally,                       ballots;
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comparing how many of the randomly selected sample                  ballots associated with said previously reported groups
   ballots are associated with said previously reported             and said number of preliminary sample ballots; and
   groups with said number of preliminary sample ballots;        if said number of randomly selected sample ballots asso-
if said number of randomly selected sample ballots asso-            ciated with said previously reported groups is less than
   ciated with said previously reported groups is greater    5      or equal to said number of preliminary sample ballots,
   than said number of preliminary sample ballots, ran-             performing no further verifications in said previously
   domly selecting from said previously reported groups an          reported groups.
   additional number of sample ballots equaling a differ-
   ence between said number of randomly selected sample
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                                   UNITED STATES PATENT AND TRADEMARK OFFICE
                                        CERTIFICATE OF CORRECTION
PATENT NO.                     :   8,033,463 B2                                                                                     Page     1   of 1
APPLICATION NO.                :   11/833955
DATED                          :   October 11, 2011
INVENTOR(S)                    :   Edward W. Felten, Joseph A. Calandrino and J. Alex Halderman

It   is certified that error appears in the above -identified patent and that said Letters Patent is hereby corrected as shown below:


            ON THE TITLE PAGE:
            ITEM (75) Inventors, change "Calendrino" to "Calandrino"




                                                                                     Signed and Sealed this
                                                                              Twenty -ninth Day of November, 2011




                                                                                                     David J. Kappos
                                                                                 Director of the United States Patent and Trademark Office
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                                            Verified Voting
                                  40 Foundation
Verified Voting Foundation: Principles for New Voting Systems
Any new voting system should conform to the following principles:

      1.   should use human -readable marks on paper as the official record of voter preferences
           It
        and as the official medium to store votes.'
     2. It should be accessible to voters with disabilities, and in all mandated languages."
     3. It should provide voters the means and opportunity to verify that the human -readable
        marks correctly represent their intended selections, before casting the ballot. "'
     4. It should preserve vote anonymity: it should not be possible to link any voter to his or her
        selections, when the system is used appropriately. It should be difficult or impossible to
        compromise or waive voter anonymity accidentally or deliberately.' No voter should be
        able to prove how he or she voted."
     5. It should export contest results in a standard, open, machine -readable format.'
     6. It should be easily and transparently auditable at the ballot level. It should:
             a. export a cast vote record (CVR) for every ballot,
             b. in a standard, open, machine -readable format,
             c. in a way that the original paper ballot corresponding to any CVR can be quickly
                 and unambiguously identified, and vice versa. "'
     7. It should use commercial off -the -shelf (COTS) hardware components and open- source
        software (OSS) in preference to proprietary hardware and proprietary software,
        especially when doing so will reduce costs, facilitate maintenance and customization,
        facilitate replacing failed or obsolete equipment, improve security or reliability, or
         facilitate adopting technological improvements quickly and affordably.'''
     8. It should be able to create CVRs from ballots designed for currently deployed systems'
         and it should be readily configurable to create CVRs for new ballot designs!
     9. It should be sufficiently open' to allow a competitive market for support, including
         configuration, maintenance, integration, and customization.
     10. It should be usable by election officials: they should be able to configure, operate, and
         maintain the system, create ballots, tabulate votes, and audit the accuracy of the results
         without relying on external expertise or labor, even in small jurisdictions with limited staff.


'The medium might be voter -marked paper, a paper ballot marked with a ballot- marking device, or paper
printed with the voter's selections. For the purpose of recounts or audits, the human -readable marks
''This can be accomplished by providing an accessible ballot marking device.
"'Some voters might need to rely on assistive technology, but to the extent possible, verification should
 not require technology.
'Reporting vote subtotals by geography to comply with jurisdictional rules may entail some unavoidable
loss of complete anonymity.
vThis is to avoid coercion and vote selling.
V'For instance, results might be reported in EML.




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                                                  Verified Voting
                                                   Foundation

    viiThis might involve printing unique identifiers on ballots, if that can be done in a way that precludes
    linking any ballot to any to individual voter.
    viiThis includes supplies and "consumables," such as paper and batteries. Software should be licensed
     under a permissive license, such as BSD or MIT. Software that is not open- source should be disclosed -
     source to the extent reasonably possible. Disclosing source code provides the possibility of discovering
     errors, security vulnerabilities, and threats to voter anonymity, and mitigating their consequences.
     Moreover, subject to intellectual property laws, disclosing source code may offer continuity if a vendor
    goes out of business.
    'XThis allows modular replacement of components of a voting system. For instance, the tabulation
    component could be replaced without replacing the entire election management system.
    XNew ballot designs might be required for new voting methods; ballot layouts might be improved to be
    more usable by voters or tabulated more reliably by machine.
    X'
       In particular, the design, data formats, and programming interfaces should be open and the licensing
    should be permissive.




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             Can Voters Detect Malicious Manipulation
                   of Ballot Marking Devices?
 Matthew Bernhard, Allison McDonald, Henry Meng, Jensen Hwa, Nakul Bajaj *, Kevin Chang, J. Alex Halderman

                                       University of Michigan          *The Harker School


           -
    Abstract Ballot marking devices (BMDs) allow voters to
 select candidates on a computer kiosk, which prints a paper
                                                                            However, BMDs do not eliminate the risk of vote -stealing

 ballot that the voter can review before inserting it into a scanner
 to be tabulated. Unlike paperless voting machines, BMDs provide
                                                                                              -
                                                                        attacks. Malware could infect the ballot scanners and change

                                                                                                                    -
                                                                        the electronic tallies although this could be detected by
                                                                        rigorously auditing the paper ballots [50] or it could infect
voters an opportunity to verify an auditable physical record
 of their choices, and a growing number of U.S. jurisdictions           the BMDs themselves and alter what gets printed on the ballots.
 are adopting them for all voters. However, the security of             This latter variety of cheating cannot be detected by a post-
BMDs depends on how reliably voters notice and correct any              election audit, since the paper trail itself would be wrong, and
adversarially induced errors on their printed ballots. In order to      it cannot be ruled out by pre -election or parallel testing [51].
measure voters' error detection abilities, we conducted a large
study (N = 241) in a realistic polling place setting using real         Instead, BMD security relies on voters themselves detecting
voting machines that we modified to introduce an error into             such an attack. This type of human-in-the -loop security is
each printout. Without intervention, only 40% of participants           necessary in many systems where detection and prevention of
reviewed their printed ballots at all, and only 6.6% told a poll        security hazards cannot be automated [18]. However, as several
worker something was wrong. We also find that carefully designed        commentators have recently pointed out [7], [20], [51], its
interventions can improve verification performance. Verbally
instructing voters to review the printouts and providing a written      effectiveness in the context of BMDs has not been established.
                                                                           Whether such a misprinting attack would succeed without
                             -
slate of candidates for whom to vote both significantly increased
review and reporting rates although the improvements may
not be large enough to provide strong security in close elections,
                                                                        detection is highly sensitive to how well voters verify their
                                                                        printed ballots. Every voter who notices that their ballot is
especially when BMDs are used by all voters. Based on these             misprinted and asks to correct it both adds to the evidence
findings, we make several evidence -based recommendations to
help better defend BMD -based elections.                                that there is a problem and requires the attacker to change an
                                                                        additional ballot in order to overcome the margin of victory.
                       I. INTRODUCTION                                  Consider a contest with a 1% margin in which each polling
    The threat of election hacking by hostile nations has              place has 1000 voters. If voters correct 20% of misprinted
 prompted a major push to ensure that all voting systems in the
 United States have voter-verifiable paper trails, a defense rec-
 ommended by the National Academies [36], the Senate Select
                                                                                                                            -
                                                                       ballots, minimal outcome -changing fraud will result in an
                                                                        average of 1.25 voter complaints per polling place likely too
                                                                       few to raise alarms. If, instead, voters correct 80% of misprinted
 Committee on Intelligence [53], and nearly all election security      ballots, polling places will see an average of 20 complaints,
 experts. Guided by past research [8], some states and localities      potentially prompting an investigation. (We model these effects
 are implementing paper trails by deploying ballot -marking            in Section V.) Despite this sensitivity, voters' BMD verification
devices (BMDs). In these systems, the voter makes selections           performance has never before been experimentally measured.
on a computer kiosk, which prints a paper ballot that the voter            In this paper, we study whether voters can play a role in
can review before inserting it into a computer scanner to be           BMD security. We first seek to establish, in a realistic polling
counted [56]. BMDs have long been used as assistive devices            place environment, the rates at which voters attempt to verify
for voters with disabilities, and a growing number of jurisdic-        their printed ballots and successfully detect and report malicious
tions are purchasing them for use by all voters [24], [25], [37].      changes. To measure these, we used real touch -screen voting
   BMDs have the potential to provide better security than             machines that we modified to operate as malicious BMDs. We
direct -recording electronic voting machines (DREs), which             recruited 241 participants in Ann Arbor, Michigan, and had
maintain the primary record of the voter's selections in a             them vote in a realistic mock polling place using the ballot
computer database and often lack a voter-verifiable paper trail.       from the city's recent midterm election. On every ballot that
Numerous studies have demonstrated vulnerabilities in DREs             our BMDs printed, one race was changed so the printout did
that could be exploited to change election results (e.g., [11],        not reflect the selection made by the participant.
[23], [31], [35]). In contrast, BMDs produce a physical record            We found that, absent interventions, only 40% of participants
of every vote that can, in principle, be verified by the voter         reviewed their printed ballots at all, only 6.6% reported the error
and manually audited by officials to confirm or correct the            to a poll worker, and only 7.8% correctly identified it on an exit
initial electronic results.                                            survey. These results accord with prior studies that found poor
                                          EXHIBIT

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voter performance in other election security contexts, such as                        II.   BACKGROUND AND RELATED WORK
DRE review screens [1], [15] and voter-verifiable paper audit          A.     Human-Dependent Security
trails (VVPATs) [48]. The low rate of error detection indicates
                                                                               Elections fundamentally depend on having humans in the
that misprinting attacks on BMDs pose a serious risk.                      loop -as     Stark [51] notes, the voter is the only one who
   The risks notwithstanding, BMDs do offer practical advan-
                                                                           knows whether the ballot represents their intended vote -and
tages compared to hand -marked paper ballots. They allow
                                                                           the success or failure of election security has the potential
voters of all abilities to vote in the same manner, provide a
                                                                           to have history- altering effects. The type of risk posited by
more user -friendly interface for voting, and more easily support
                                                                           Stark, wherein voters do not check their paper ballots to ensure
complex elections like those conducted in multiple languages or
                                                                           the BMD has correctly represented their selections, is a post -
with methods such as ranked choice [44]. BMDs also simplify
                                                                           completion error [14], in which a user makes a mistake (or
election administration in places that use vote centers [56],
                                                                           fails to verify the correctness of something) after they have
which have been shown to reduce election costs and lower provi-
                                                                           completed the main goal of their task. Voters who forget or do
sional voting rates [28], [42], as well as in jurisdictions that em-
                                                                           not know to verify the correctness of a paper ballot after they
ploy early voting, which can improve access to the ballot [30].
                                                                           have entered their selections on a BMD miss a critical step in
   Given these advantages and the fact that BMDs are already
                                                                           ensuring the accuracy of their vote. We therefore explore how
in use, the second goal of our study was to determine whether
                                                                           to communicate this risk to voters.
it might be possible to boost verification performance through
                                                                               Cranor [18] describes five ways that designers can commu-
procedural changes. We tested a wide range of interventions,
                                                                           nicate risk to a user who needs to make security decisions:
such as poll worker direction, instructional signage, and usage
                                                                              1) Warnings: indication the user should take immediate action
of a written slate of choices by each voter.
   The rate of error detection varied widely with the type of                 2) Notices: information to allow the user to make a decision
intervention we applied, ranging from 6.7% to 86% in different                3) Status indicators: indication of the status of the system
experiments. Several interventions boosted review rates and                   4) Training: informing users about risks and mitigations
discrepancy reporting. Verbally encouraging participants to                       before interaction
review their printed ballot after voting boosted the detection rate           5) Policies: rules with which users are expected to comply
to 14% on average. Using post -voting verbal instructions while                Implementing indicators that reveal meaningful information
encouraging participants to vote a provided list of candidates             to voters about the security status of a BMD would be next to
raised the rate at which voters reported problems to 73% for               impossible, as security issues are often unknown or unforeseen
voters who did not deviate from the provided slate.                        to the operators. Although voter education about the importance
    These findings suggest that well designed procedures can                of verification might be an effective form of training, significant
have a sizable impact on the real -world effectiveness of voter             coordination would be necessary to enact such a scheme at
verification. We make several recommendations that election                 scale. Therefore, we focus in this study on the effectiveness of
officials who already oversee voting on BMDs can employ                    warnings issued through poll worker scripts and polling place
immediately, including asking voters if they have reviewed                  signage.
their ballots before submission, promoting the use of slates                   A warning serves two purposes: to alert users to a hazard, and
during the voting process, informing voters that if they find an            to change their behavior to account for the hazard [62]. There
error in the printout they can correct it, and tracking the rate            are many barriers to humans correctly and completely heeding
of reported errors. Our recommendations echo similar findings               security warnings. Wogalter proposes the Communication-
about the most effective ways to alert users to other security              Human Information Processing (C -HIP) Model [61] to sys-
hazards (i.e., in context [12] and with active alerts [21]) and             tematically identify the process an individual must go through
redirect them to take action.                                               for a warning to be effective. The warning must capture and
    Although our findings may be encouraging, we strongly cau-              maintain attention, which may be difficult for voters who
tion that much additional research is necessary before it can be            are attempting to navigate the voting process as quickly as
concluded that any combination of procedures actually achieves              possible. Warnings must also be comprehensible, communicate
high verification performance in real elections. Until BMDs                 the risks and consequences, be consistent with the individual's
are shown to be effectively verifiable during real -world use, the          beliefs and attitudes toward the risk, and motivate the individual
safest course for security is to prefer hand -marked paper ballots.         to change  -all    of which are substantial impediments in an
Road Map Section II provides more background about human                    environment with little to no user training and such a broad
factors and security and about previous work studying the role              user base as voting.
of voter verification in election security. Section III describes              To maximize effectiveness, warnings should be contextual,
our experimental setup, voting equipment, and study design.                 containing as little information as necessary to convey the risk
Section IV presents our results and analyzes their significance.            and direct individuals to correct behavior [12], [61]. Voters
Section V provides a quantitative model for BMD verification                are essentially election security novices; Bravo -Lillo et al. [12]
security. Section VI discusses the results, avenues for future              found that, in the context of computer security, advanced and
work, and recommendations for improving the verifiability of                novice users respond to warnings differently. Most significantly,
BMDs. We conclude in Section VII.                                           novice users assessed the hazard after taking action, whereas



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 advanced users assessed the hazard before engaging in the                BMDs statewide [24], [25], as have several counties and cities,
 activity.                                                                including Los Angeles County, the largest single election
   There may be effective ways to improve voter verification              jurisdiction in the U.S. [58].
performance. Many studies have applied lessons from Cranor,                   There has been vigorous debate among election security
Wogalter, and Bravo -Lillo et al. to help humans make secure              experts as to whether BMDs can provide software- independence
choices in different contexts, including phishing [21], [41],             (e.g., [7], [20], [51], [60]). However, the discussion has yet to
browser warnings [2], [46], [52], app permissions [3], [40],              be informed by rigorous experimental data. Our work seeks to
and operating system interfaces [13]. In the context of phishing          fill that gap by contributing the first human- subjects study to
warnings, for example, Egelman et al. [21] found that users               directly measure the verification performance of voters using
were far more likely to heed an active warning, or a warning              BMDs under realistic conditions and with a variety of potential
that disrupted their workflow, than a passive warning. This               procedural interventions.
suggests that similar interventions applied in a polling place
may have a significant effect on voters' ability to review and                           III. MATERIALS    AND METHODS
verify their BMD ballots.                                                    Our goals in this work were to empirically assess how well
   Our study contributes to this literature by exploring the              voters verify BMD ballots and whether there are steps election
effects of several modalities of warnings (oral and visual) on            officials can take that will enhance verification performance.
human detection of malicious ballot modification.                         To these ends, we conducted a between -subjects study where
                                                                          we tested several hypotheses in a simulated polling place,
B. Voter- Verifiable   Paper and Ballot -Marking Devices
                                                                          following the best practices recommended by Olembo et al. [39]
    A guiding principle in election security is that voting systems       for election human- factors research. The study design was
 should be software independent [47]: that is, any software errors        approved by our IRB.
 or attacks that change the reported election outcome should be              We sought to answer several questions, all of which concern
 detectable. Bernhard et al. [9] note that elections backed by            the rate at which voters are able to detect that a BMD- printed
 a voter-verifiable paper record are currently the only known             ballot shows different selections than those the voter picked:
way to provide robust software independence. Like BMDs,
                                                                                What is the base rate of error detection?
voter-verifiable paper audit trails (VVPATs) and hand -marked
                                                                                Is error detection impacted by:
paper ballots are widely used in an attempt to achieve software
independence. However, each poses a different set of usability                  - Ballot style?
 and accessibility challenges.                                                  - Manipulation strategy?
   Hand -marked paper ballots record the voter's selections                     - The manipulated race's position on the ballot?
without the risk of having a potentially compromised computer                   - Signage instructing voters to review their ballots?
mediating the process. However, voters often make mistakes                      - Poll worker instructions?
when filling out ballots by hand that can lead to them being                    - Providing a slate of candidates for whom to vote?
counted incorrectly or ruled invalid [27]. Moreover, many                    In order to answer these questions in an ecologically valid
voters have difficulty marking a paper ballot by hand due                 way, we attempted to create an environment that closely
to a disability or a language barrier. Ballots in the U.S. are            resembled a real polling place. Nevertheless, it is impossible
among the most complex in the world, further magnifying                   for any experiment to fully recreate what is at stake for voters
these difficulties [38].                                                  in a real election, and so study participants may have behaved
   VVPAT technology also suffers from noted usability, privacy,           differently than voters do in live election settings. We went to
and auditability problems [26]. Most implementations consist              extensive lengths to mitigate this limitation, and we find some
of clunky printer attachments for DREs that are difficult for             data to support that we did so successfully (see Section VI-A).
voters to read, record votes in the order in which they are               We used real (though modified) voting machines, printers and
cast, and use a fragile paper tape. In laboratory studies, Selker         paper stock from deployed BMD systems, a ballot from a real
et al. [48] and de Jong et al. [19] found that voters frequently          election, and ballot styles from two models of BMDs. We
did not review the VVPAT, with Selker finding that only 17%               conducted the study at two city library locations, one of which
of voters detected changes between the selections they made               is used as a polling place during real elections.
on the DRE and those printed on the VVPAT. While there has
been some criticism of Selker's findings and methodology [45],            A. The   Polling Place
[49], their results broadly comport with work by Campbell                    To provide a realistic voting experience, we structured our
et al. [15] and Acemyan et al. [1] about voters' ability to detect        simulated polling place like a typical BMD -based poll site.
errors introduced in DRE review screens. The latter found that            Three investigators served as poll workers, following the script
only 12-40% of participants successfully detected such errors.            in Appendix A. Library patrons who were interested in voting
   In part due to the concerns raised by these studies, BMDs              began at a check -in table, where they were greeted by Poll
have become a popular choice for new voting system de-                    Worker A and asked to sign an IRB-approved consent form. Par-
ployments in the United States. South Carolina and Georgia,               ticipants were told they would be taking part m "a study about
together comprising nearly 9 million voters, recently adopted             the usability of a new type of voting machine" and instructed



                                                                      3
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Fig. 1: Polling Place Setup. We established mock polling places at two public libraries in Ann Arbor, Michigan, with three
BMDs (left) and an optical scanner and ballot box (right). Library visitors were invited to participate in a study about a new kind
of election technology. The BMDs were DRE voting machines that we modified to function as malicious ballot marking devices.


on how to use the equipment, but they were not alerted that the        ally a one- or two-person line formed as participants waited
study concerned security or that the BMDs might malfunction.           to use the BMDs or the ballot scanner.
   Each participant received a voter access card with which
to activate a BMD and was free to choose any unoccupied                B. The Voting Machines
machine. There were three identical BMDs, as shown in
                                                                          BMD voting systems are currently produced by several vot-
Figure 1. On the last day of the study, one machine's memory
                                                                       ing machine manufacturers, the largest of which is ES &S. Over
became corrupted, and it was removed from service; all votes
                                                                       a six month period, we repeatedly attempted to engage ES &S
that day were recorded on the other two machines.
                                                                       in discussions about acquiring samples of their equipment for
   The BMDs displayed contests in a fixed order, and voters
                                                                       this study. However, these attempts were ultimately not fruitful.
made selections using a touch screen interface. After the last
                                                                          Instead, we utilized AccuVote TSX DRE voting machines,
contest, the machines showed a review screen that accurately
                                                                       which we purchased on eBay and modified to function as
summarized the voter's selections and highlighted any un-
                                                                       BMDs. The TSX was first produced by Diebold in 2003 and
dervotes. The voter could return to any contest to change the
                                                                       is still widely deployed today. At least 15 states plan to use it
selections. A "Print Ballot" button ended the voting session and
                                                                       in at least some jurisdictions in November 2020 [57].
caused a printer under the machine to output the paper ballot.
   Participants carried their ballot across the polling place             The TSX runs Windows CE and is designed to function as
to the ballot scanner station, where they inserted them into           a paperless DRE or a VVPAT system. We developed software
an optical scanner that deposited them into a ballot box.              modifications that allow it to print ballots in multiple styles us-
Poll Worker B was stationed by the scanner and offered                 ing an external printer. This effectively converts the TSX into a
instructions if necessary. Next, the poll worker collected the         BMD -and one we could easily cause to be dishonest -while
voter access card and asked each participant to complete an            preserving the original touch -screen interface used by voters.
exit survey using a laptop next to the scanning station. The              In order to modify the machine, we built on techniques used
survey was anonymous, but responses were keyed so that we              by Feldman et al. [23]. We began by patching the firmware
could associate them with the voter's on- screen selections,           so that, when the machine boots, it attempts to execute a
their printed ballot, and poll worker notes.                           program provided on an external memory card. We used this
   Poll Worker C, positioned separately from the other stations,       functionality to launch a remote access tool we created, which
acted as an observer. They verified that participants moved            allowed us to connect to the TSX over a network and perform
through the polling place stations sequentially, noted whether         file system operations, run applications, and invoke a debugger.
they spent time reviewing their printed ballots, and recorded             The TSXes in our polling place were connected to an
whether they appeared to notice any abnormalities. The observer        Ethernet switch using PCMCIA network adapters. A Python
was also tasked with noting participant behavior, specifically         program, running on a computer on the same network, used the
how the participants completed each step in the voting process         remote access tool's API to poll each machine for newly voted
and any comments they made. The observer was available                 ballots. Whenever a ballot was cast, the program parsed the
to answer participant questions and was frequently the poll            selections, generated a PDF file based on them, and sent it to a
worker participants approached upon noticing a discrepancy.            printer located underneath the appropriate voting machine. The
   Like in a real polling place, multiple participants could           program could be configured to apply different ballot styles
progress through the voting process simultaneously. Occasion-          and cheating strategies, depending on the experiment.



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       For every ballot, the program randomly selected one race to
    manipulate. In most experiments, selections could be changed
    in three ways: deselection in a voted -for race, selection in
    an unvoted -for race, or changing a selection to a different
   candidate. We ensured that some alteration would take place
   on every ballot. For example, in a vote -for -one race where
   the voter had made a selection, the algorithm would choose
   uniformly from the set of unselected choices plus no selection.
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   One experiment used a different strategy, in which choices                                                                                                             :o...,WN.+-

   could only be deselected.                                                                          R.J.N.. A>...
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      Both the voter's original selections and the manipulated




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   ballot were logged for later analysis. Each voting session was                                         0.1.81.01           er2::,7'"
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   associated with a unique tracking number, which was printed
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   on the ballot along with a timestamp and encoded as a barcode.                                     =Ma Mao
                                                                                                                                      '.                              I
      As the final step in the voting process, participants fed their                                                                                                      Jre(e.Ytóakeawt
                                                                                                                                                              I




  printed ballots into an AccuVote OS optical scanner, a device                                                       IIM,:,.M
                                                                                                                                                                               ,..    ..,....
   used to tabulate votes in parts of 20 states [57]. The scanner                    o                                                Am.


  was intended to add realism to the experiment, but AccuVote
  OSes are not capable of actually tabulating the ballot styles
  we used. Therefore, we modified the scanner so that it simply
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  fed each ballot into the ballot box without counting it.                                                            oa`;t-r-                                         n.w....,
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                                                                                                                                                                         we..:M
     We mounted a barcode reader in a 3 -D printed case above                                                             ,n.,
  the scanner's input tray and positioned it so that it would                                                         o..             eMA                     I
                                                                                                                                                                  ,ot...a...e,.
                                                                                                                                                                         -_....
 detect the ballot's tracking barcode. (This setup can be seen in
 Figure 3.) When the barcode was read, a Raspberry Pi would
 activate the AccuVote OS's feed motor to pull the ballot into the             ISLSE01LtE0LE001



 ballot box. The Raspberry Pi also displayed the ballot tracking               1111111111111                                                                                  MEN
 number so that poll workers could associate the ballot with                                             (a) Regular Ballot
 the participant's exit survey response and the observer's notes.
                                                                             1111111111111
 C. The    Ballot                                                              :..»O                                                                                       0029209.21716.1090



     In order to ensure a realistic voting experience and increase
  participants' psychological investment in the outcome of                                                                                                    Page               1    of        1
                                                                                                                      Petit
  the mock election, we used races and candidates from the                  Governor end Lieutenant Governor
                                                                            Secretary of State
                                                                                                                       GNE0CNEN WIIIME9
                                                                                                                        JOCELYN 6ENSON
                                                                                                                                                                                       DEN
                                                                                                                                                                                       non
  city's actual ballot for the recent 2018 midterm election. For            Attorney General
                                                                            United States Senator
                                                                                                                       DANA NESSEI.
                                                                                                                       DEBBIE STANENON
                                                                                                                                                                                       non
                                                                                                                                                                                       DEN
                                                                            Representative In Congress                 0159IE OINGELt.
  simplicity, we reduced the ballot to the first 13 races so that           Member of the State beard of Educ.tten     JONM 1. TATAR
                                                                                                                       SHERRY A. WELLS
                                                                                                                                                                                       DEN
                                                                                                                                                                                       LIs
                                                                                                                                                                                       GAF
 ballots would not require duplex printing or multiple pages.              Regent of the University of Michigan        KEVIN A. GRAVES
                                                                                                                       M+ARGE NATCNMARN 5A1LON5
                                                                                                                                                                                       GRE
                                                                                                                                                                                       NAT
                                                                           Trustee   of Michigan Stet. University      AARON MARIE57
     We tested two ballot styles, which are illustrated in Figure 2.       sustice of Supreme Court
                                                                                                                       BRIOGETTE 900MNI.GLZJUN
                                                                                                                                                                                       GRE
                                                                                                                                                                                       NAT
                                                                                                                      SAMUEL OAGEN5T05                                                 Nia
 One is a regular ballot that shows the entire set of candidates           Judge of Court of Appeals 3rd District
                                                                                                                       "MO SELECTION'
                                                                                                                       'N0 SELECTION'

 in every race. The other is a summary ballot, which shows                 Mg.   9f Circuit Court
                                                                                                                       "MO SELECTION'
                                                                                                                      "N0 SELECTION'
                                                                                                                      "NO SELECTION"
 only the voter's selections or "NO SELECTION" if a choice is              Judge of Probate Court
                                                                           Judge of District Court 14A
                                                                                                                      'NO SELECTION'
                                                                                                                      'NO SELECTION'

 left blank. Most BMDs print ballots that resemble these styles.
    The specific visual designs we used mimic ballots produced
 by two models of BMDs manufactured by Hart InterCivic,
which also makes the voting equipment used in Ann Arbor.
The regular style is also the same design as the hand -marked
paper ballots most Ann Arbor voters use, ensuring that many
participants found it familiar. These designs are used in
jurisdictions that collectively have over 10 million registered
voters [57].
   The model of laser printer we used, Brother HL -2340, is                           (b) Summary Ballot
certified for use with Clear Ballot's ClearAccess BM]) sys- Fig. 2: Ballot Styles. We tested two ballot
                                                                                                            styles: (a) a regular
tem [43], so we chose paper stock that meets the specifications style, resembling a hand
                                                                                          -marked ballot; and (b) a summary
for ClearAccess [16]. Summary ballots were printed on regular style, listing only the
                                                                                      selected candidates. Both had 13 races
weight 8.5 x11 inch letter paper, while regular ballots were from the city's recent midterm
                                                                                              election. In one race, determined
printed on Vellum Bristol stock 67 pound 8.5 x 14 inch paper. randomly, the printed selection
                                                                                              differed from the voter's choice.


                                                                   5
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D.  Participants and Recruitment
                                                             at the
   To gather subjects for our study, we approached staff
                      Library  (AADL),    who offered   space   for
Ann Arbor District
                  mock  precinct. We   conducted a total  of  three
us to set up our
                                                           at two
days of data collection in July and September 2019
                                                               The
library locations: the Downtown and Westgate branches.
Downtown branch, where our study was held for         two   of  the
                                                   real  elections.
three days, is an official polling location during
   The AADL advertised our study through its social media
feeds and offered incentives to patrons for their participation,                                Please review eadti selection
                                                                                                                              on
                                                          souvenir
such as points for a scavenger hunt competition [5] and                                               your printed ballot
                                                                outside
flashlights [6]. We also set up a fourth voting machine
                                     could   vote  in  an  election  for
of the mock precinct where kids
mayor of the library's fish    tank.1  Results   from    that machine
                                                           recruitment
were not used as part of this study, but it served as a
                             the  library  with   their   children.   In
tool for parents visiting
                        recruited  patrons  who    happened    to  be  at
addition, we verbally
                      our study,  using  the  script  in  Appendix     B.
the libraries during
    Participants were required to be at least 18 years of
                                                                     age
                 IRB- approved   consent   form.   All  data  collected,
 and to sign an
                                                                     was
 including survey responses and behavioral observations,
                                                              that  they
 completely anonymous. We informed participants
 were not required to vote their political preferences.

 E. Experiments
                                                                             Fig. 3: Warning Signage. One of the interventions we
                                                                                                                                       tested
      To explore what factors affect voter verification
                                                        performance,
                                                                                                                                    voters  to
                                                                     In      was placing a sign above the scanner that instructed
 we devised nine experiments to run between subjects.                                                                 effective intervention.
                             participant,    one   selection  that  the      verify their ballots. Signage was not an
 all experiments, for  every
 participant made on the BMD was not accurately reflected
 on the printed ballot. Every participant within an experiment                                                                                   the
                                                                                 Figure 3. We designed the sign following guidelines from
 received the same instructions from the poll workers, following                                                             [55].
                                                                                 U.S. Election Assistance Commission
 the script and variants in Appendix A.
     The first three experiments were designed to measure                        E5: Script variant 1 During voter check in, the poll worker
                                                                                                                                               ballot
 verification in the absence of protective interventions.
                                                                  They           added this instruction: "Please remember to check your
                                               strategy:                         carefully before depositing     it into the scanner."
 varied the ballot style and manipulation
 El: Regular ballots We used the regular ballot style and the                    E6: Script variant 2 When the voter approached the scanner,
                                                                                                                                               ballot
 default manipulation strategy, in which a selection could
                                                                      be         the poll worker said: "Please keep in mind that the paper
                                     if left  blank   by  the voter.             is the official record   of your   vote."
  switched, deselected, or selected
                                                                   style
 E2: Summary ballots We used the summary ballot                                  E7: Script variant 3 When the voter approached the scanner,
  and the default manipulation    strategy.   As    discussed   in  Sec-         the poll worker said: "Have you carefully reviewed each
  tion IV, we found   no significant difference     in error  detection           selection on your printed ballot ?"
  between regular ballots and summary ballots, so all subsequent                     The final two experiments assessed whether reminding
  experiments used summary ballots.                                               participants of their selections during verification improved their
                                                                     the
  E3: Deselection only To assess the sensitivity of voters to                     performance. We gave voters a slate of candidates for whom
  way their ballots were changed, we limited         the manipulation             to vote that they could carry with them throughout
                                                                                                                                           the voting
  to deselecting one of the voter's choices at random.                                                                                           that
                                                                                  experience. While we refer to this as a slate, a sample ballot
                                                                                                               voting could serve the   same purpose.
        Four further experiments tested interventions to determine the voter filled in before
                                              We   tried  posting  a sign and     Every   voter received   the same slate (Appendix C), which was
     if they improved error detection.
                                                                        times: randomly generated and contained an even mix of parties.
     having poll workers give different instructions at various
                                                                          that E8: Slate with script variant 2 Voters were given the slate.
     E4: Signage A sign was placed above the scanner
                                                                             in Poll workers encouraged verification with script variant 2.
     instructed voters to check their printed ballots, as shown
                                                                  Bob supporters
                                                                                  E9: Slate with script variant 3 Voters were given the slate.
        'Mighty Trisha unexpectedly beat Creepy Bob, leading some                  Poll workers encouraged verification with script variant 3.
     to complain that the results were fishy [4].



                                                                            6
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                   Experiment                                    Were observed          Reported error       Reported error
                                                        N
                                                               examining ballot         on exit survey       to poll worker
                   Without interventions:
                     El: Regular ballots               31               41.9%                    6.5%
                     E2: Summary ballots                                                                              6.5%
                                                       31               32.3%                    6.5%                 6.5%
                     E3: Deselection only              29               44.8%                  10.3%                  6.9%
                     Subtotal/Mean                     91               39.7%                   7.8%                 6.6%
                  With interventions:
                    E4: Signage                        30               13.3%                   3.3%                 6.7%
                    E5: Script variant 1               30               46.7%                  13.3%                 6.7%
                    E6: Script variant 2               25               92.0%                  16.0%                16.0%
                    E7: Script variant 3               31               38.7%                  19.4%                12.9%
                    E8: Slate with script variant 2   13               100.0%                  38.5%
                    E9: Slate with script variant 3                                                                 38.5%
                                                      21                95.2%                  71.4%                85.7%
                    Subtotal/Mean                     150               64.3%                 24.0%                 27.8%
  TABLE I: Verification Performance for Each Experiment. Without interventions,
                                                                                     participants' verification performance was
  remarkably poor: only 7.8% noted on an exit survey that their ballots had been altered,
                                                                                          and only 6.6% informed a poll worker
  (averaged across experiments). The various interventions we tested had widely
                                                                                  different effects, ranging from no significant
  improvement (E4, E5) to a large increase in verification success (E8, E9).


                            Iv.   RESULTS                             demographics resembled the population of Ann Arbor voters
 A.   Participant Demographics                                        (the city is among the most highly educated in the U.S.) [33].
      We recruited 241 participants. The vast majority (220,          B. Verification   Performance
 91 %) indicated that they were native English speakers; 19
                                                                         To quantify verification performance, we collected three
  reported speaking twelve other native languages, including data points
                                                                                      for each participant, which are summarized in
  Hungarian, Korean, and Arabic; and two subjects gave no Table I. First,
                                                                                        an observer noted whether the subject appeared
  response. Participants who disclosed their age ranged from to examine the
                                                                                         printed ballot for at least two seconds. Second,
  18 to 84 years old, with a mean of 43.7 and a median of 42;
                                                                      the exit survey asked, "Did you notice anything odd about your
  15 subjects did not answer the question. The percentages that
                                                                      ballot ? ", and we recorded whether the subject's response cor-
  follow are out of the total number of responses to each question:
                                                                      roborated the discrepancy (i.e., correctly articulated which race
  Respondents identified as male (84, 35 %), female (152, 64 %), was changed).
                                                                                         Third, we recorded whether subjects reported
  or other (3, 1 %); two did not respond. Subjects reported their the
                                                                          ballot modification to a poll worker. Most experiments
  ethnicity as Caucasian (187, 80%), Asian (17, 7 %), African saw more
                                                                                    participants identify discrepancies in the survey
  American (6, 3 %), Mexican American/Chicano (5, 2 %), and than were
                                                                                    reported to poll workers, but these differences
  Other Hispanic/Latino (9, 4 %); others reported not having any
                                                                     were not statistically significant. Where applicable, we refer
  of these ethnic backgrounds (2, 1 %) or were multiracial (9, to
                                                                         participants who by some means reported detecting the
 4 %). Participants reported their level of educational attainment
                                                                     discrepancies as "noticers" and those who did not as "non-
 as some high school (1, 0.4%), a high school diploma (4, 2 %),
                                                                     noticers".
 some college (20, 8%), a two-year degree (10, 4%), a four-year         1) Performance without interventions (El E3): With no
 degree (80, 33 %), a master's or professional degree (92, 38 %),
                                                                     interventions, we found verification performance to be consis-
 or a doctorate (34, 14 %).
                                                                     tently poor. The three experiments involved 91 participants,
    Most subjects indicated that they were registered to vote in and, averaged
                                                                                       across the experiments, only 40% of participants
 the U.S. (220, 92 %), had voted in a previous election (216,
                                                                     examined their ballots, only 7.8% noted the error on the
 91 %), and had voted in the November 2018 midterm election
                                                                     exit survey, and only 6.6% reported it to a poll worker. We
(209, 87 %). However, we note that, historically, 38-45% of did not
                                                                                find significant differences in performance between
non -voters have been found to falsely report having voted [10].
                                                                    regular and summary ballots or between the tested attack
    Compared to the population of Ann Arbor at the time of the strategies.
2010 census, our participant pool overrepresented Caucasians            2) Effectiveness of interventions (E4-E9): The tested in-
(A = 7.6 %) and underrepresented African Americans (A =
                                                                    terventions resulted in a wide range of effect sizes. Neither
-4.4 %) and Asians (A = -8.7 %) [54]. The study population signage (E4) nor poll worker
also overrepresented females (A = 13 %) and underrepresented
                                                                                                         instructions issued before the
                                                                    participant began voting (E5) yielded a statistically significant
males (A = -16 %) [59]. In other reported aspects, participants'
                                                                    improvement to any aspect of verification performance. In


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                                                                        was           3) Demographics: Comparisons of detection rates across
contrast, poll worker instructions issued after the ballot
                                                                                  demographic groups revealed that a strong indicator for
printed (E6 and E7) did have a positive effect, boosting
                                                                        poll      verification performance was voting experience. Subjects who
reporting rates to 20% on the exit survey and 14% to
                                                                                  reported being registered to vote (N = 220) detected errors with
workers (averaged across the experiments).
                                                                                  their ballots 19% of the time, while their those who did not
    The largest performance gains occurred when participants
                                                                   and E9).       (N = 21) detected errors 4.8% of the time. Those who reported
were directed to vote using a slate of candidates (E8
                                                   significant   difference       voting previously (N = 216) caught ballot discrepancies in
However, only E9 produced a statistically                                                                                                             reported
                                                         Averaged across          19% of cases, again performing better than those who
in reporting rates (Fisher's exact p < 0.001).2                                                                =  25),   who   detected     an  error  in 4.0%
                                   rates  increased   to  55% on the exit         not voting before        (N
both experiments, reporting                                                                                     reported    voting   in   the  2018   midterm
                              workers.   E8, in which    participants  were        of cases.   If  someone
 survey and 62% to poll
                           using  a  slate of candidates,    saw   detection       election (N = 209), they detected problems with their ballot
 directed how to vote
                                                                   for DRE         20% of the time, whereas if they did not (N = 32), they detected
 and reporting rates of 39 %, which is similar to results
                   performance     found   by  Campbell     et al. [15] and        problems 3.1% of the time. This may indicate that familiarity
 review screen
            et al.  [1], in studies  that similarly  directed   participants       with the midterm ballot we used caused participants to feel
 Acemyan
                                                                   produced        more invested in the accuracy of their votes; however, we did
 how to vote. With script variant 3, the use of a slate
                                                       E9, Fisher's exact          not establish this to statistical significance.
 a significant difference (comparing E7 and
                                                                  produce a            Other demographic factors, such as age, education, ethnicity,
 p < 0.02) for both review and report, but it did not
                                                      (comparing     E6 and        and gender, had no correlation with detecting manipulation.
 significant difference using script variant       2
                                                sensitive   to  the  specific          4) Ballot position: Noticing was correlated with ballot
 E8). This indicates that voters may be
                                         reviewing   their  ballots.               position (Pearson's of -0.64), indicating that discrepancies
 instructions they receive about                                                                                                                          (Race
                                                                                   in more prominent races are more likely to be noticed.
 C.   Correlates                                                                   0 was the     first  race  on  the  ballot,  so  the   number    of  noticers
    1) Reviewing the ballot: Reviewing the ballot
                                                               at all was          decreases as the race position increases, hence the negative
 significantly correlated with  error  reporting  (two  -sample    permu-          correlation coefficient.) On our ballot, the first five races
 tation test p < 0.001 with    10k  repetitions).  Some     interventions           (Governor, Secretary of State, Attorney General, U.S. Senator,
 do seem to promote reviewing: E6, E8, and E9
                                                         saw significant            and Representative in Congress) were prominent partisan
                                                                                                                                                              the
 increases (Fisher's   exact  p <  0.004),   although   E7    did not.              contests with a high likelihood of name recognition. In
                                                                                                                                               participants   had
    2) Time to  ballot submission:    Careful   verification   takes time,          experiments with no intervention (El          -E3),    37
                                                                                                                                                            error
 so one might expect that participants who noticed
                                                            discrepancies           one of these races manipulated, and five reported the
                                                  an  upper     bound on                                             of  14 %. Additional      experiments     are
 took   more  time  to  cast their ballots.   As                                    on the exit survey, a rate
                                                           the  time from                                           strength  of  this  effect when   combined
 how long subjects spent verifying, we calculated                                   necessary to establish the
  ballot printing to ballot submission.       (Due   to   clock   drift on          with interventions.
  one of our machines, data from the        third day   of   experiments                5) Undervotes: A metric that may inform voters' ability
                                                                                                                                                             they
  was unusable, and consequently FA and E7 are excluded
                                                                      from          and willingness to verify their ballot is how much care
                                                                     took                                                There   are   two   metrics  we   use  to
 our timing analysis.) As expected, we find that noticers                           take in  filling   out  the  ballot.
                                                                                                                                                                on
 an average of 121 s between        printing   and   ballot  submission              examine this: whether a participant voted in every contest
 (median 114 s), compared to only 43 s for non-noticers
                                                                (median              the ballot, and whether the participant voted in every available
 32 s). This difference   is  statistically  significant   (two -sample              position on the ballot (e.g., in a vote -for-two contests, the
 permutation test   p  < 0.004,   10k  iterations).                                  participant selected two choices). Table II shows the rates of
    We compared the submission times for two sets of
                                                                   experi-           voting in every race and every position on the ballot, with
                     extra  instructions   to  the  voter  (E5,  E6,   ES,           ES and E9 removed as they directed participants to vote
                                                                                                                                                                 in
 ments: ones    with
                                                                N   =  91).                                                     discrepancies     voted  in every
 and E9; N = 84) and ones without (El, E2, and E3;                                   every position. Voters who noticed
                                                                                                                                                               not,
 The experiments that asked participants to review their
                                                                   ballots           race or every position at a higher rate than those who did
                                                         ballot printing                                                     due  to  our   small  sample    size).
 saw significantly more time spent between                                           but not significantly so (likely
 and submission (two -sample permutation test p < 0.004,
                                                                       10k           Since these undervotes are visible to malware running on a
 iterations), an average of 83 s (median       72  s) compared     to 50  s          BMD, this correlation could be exploited by an attacker to
 without (median 33 s).                                                               focus cheating on voters who are less likely to carefully verify,
     Notably, participants who were given a slate of candidates                       provided future work more firmly establishes this link.
                                                                 - sample
 to vote for had much higher submission times (two
 permutation test p <     0.004,    10k  iterations).   Noticers    in the                                      Overall        Noticers     Non -noticers
                     took  an   average   of 119  s (median    111  s) and
  slate experiments                                                                         Every race            64.3%           73.9%             63.0%
                          55  s  (median   52 s).  This  might  be   partly
  non -noticers averaged                                                                    Every position        43.0%           47.8%             42.4%
             to voters  having   to select  unfamiliar   candidates    and
  attributed
  wanting to check their work.                                                        TABLE H: Participant Attentiveness. Voters who noticed the
                                                                          -wise       discrepancy tended to vote in every race and ballot position
           p- values were computed with a Bonferroni correction at family
                                                                  a
      2Aí1
         rate  of 0.05.
                                                                                      more often than those who did not.
   error



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      6) Partisanship: To assess the role partisanship plays in         using Fisher's combining function. We found that the effect of
   detection rates, we scored each ballot with a partisanship score,    overlapping with a noticer did not significantly impact whether
  where a vote for a Democratic candidate was scored -1 and a           a participant noticed. This suggests that our interventions were
  vote for a Republican candidate was scored 1, and we take the         more important than overlapping.
   absolute value of the sum. There were 11 opportunities to vote          9) Signage: One feature that did not correlate with improved
  in a partisan way, so a participant who voted straight -party         verification performance was the signage we tested (E4). Our
  for either major party would achieve a score of 11. Excluding         observer noted that 11 of 30 participants in the signage
  E8 and E9, where voters were directed how to vote, the mean           experiment did not notice the sign at all. Only two participants
  partisanship score for our participants was 8.3, and the median       in this experiment detected the modification of their ballot
  was 11. Although our BMD did not offer an automatic "straight -       and reported it, and only one accurately noted the discrepancy
  party" voting option, 105 participants achieved the maximum           in their survey, suggesting that passive signage alone may
  partisanship score.                                                   be insufficient to capture voters' attention and shape their
     Intuitively, a voter expecting every selected candidate to be      subsequent behavior.
  from the same party might be more likely to notice a selection
  from a different party. Looking at only these straight -party        D. Participant Comments
  voters, 15 out of 105 detected the errors. Of those, nine had            Participants had two free -response sections in the exit survey.
  a partisan race swapped to a different candidate of a different       The first asked about anything "odd" they had noticed about
  party, and six of those participants wrote in the survey that they    the ballot. The second invited any additional comments. Of
 had detected the change based on party. For example, one par-          the 241 participants, 114 responded to at least one of these
 ticipant wrote, "voted GOP for governor / lieutenant governor          prompts. We note several features of their responses.
 but Libertarian was actually selected on the paper ballot."               1) Discrepancy reports: In total, 44 participants (18 %) noted
     This suggests that choosing a uniform set of candidates            in the free response section of the survey that they had identified
 may help voters detect when something has gone wrong on                some discrepancy on their paper ballot. Of these, 31 correctly
 their ballot, although more work is needed to establish that           identified the change, 12 gave no detail (e.g., "At least one of
 this is indeed the case, especially in more politically diverse        my choices did not match who I picked "), and one incorrectly
 populations. If this positive effect holds, it could be further        identified the change (but did report that there was a mistake).
 promoted with ballot designs that prominently display the party,       We omitted this last participant from our "noticers" category
 which could help voters see the information that is important          where applicable.
 to them while they review the ballot. On the other hand, BMD              Of the 44 participants who reported a change on their
 malware could be designed to counter this effect by focusing           ballot in the survey, five added that they thought it could
 cheating on voters who do not cast a straight-party ballot.            have resulted from a mistake they made. For example, one
    7) Slate voting: 34 participants were assigned an inter-            participant reported: "I don't remember voting for the member
 vention which asked them to vote for a preselected slate               of Congress and there was a vote. I very well may have but
 of candidates (with a partisanship score of 0). Of these,             just don't remember."
 only 26 participants voted exactly as directed. Of the eight              2) Attitudes about verification: Twelve participants men-
participants who did not, four voted a straight Democratic ticket       tioned either that they would only be comfortable voting on
 (partisanship score of 11), one voted a heavily Democratic ticket      a paper ballot or that they were comforted by the fact that a
(score of 9), two voted slightly Democratic tickets (scores of          paper trail was created. Only three of these 12 participants
 3 and 5), and one voted a non-partisan ticket (score of 0),           noticed that their ballot had been modified, despite the fact
which only deviated from the slate in five positions. Of the           that they recognized that the paper ballot was an important
eight participants who deviated from the slate, no participant         tool for ensuring election integrity.
deviated by fewer than five positions, indicating that either              Several participants seemed to realize after casting their
the deviation was deliberate or our instructions to vote the           vote that the evaluation of their paper ballot was important; 13
slate were unclear. Only one deviating participant managed             participants mentioned in the survey that they did not review or
to notice the discrepancy on their ballot, leaving participants        that they should have reviewed the ballot, although we did not
who deviated from the slate a 13% notice rate compared to              ask them about it. This concern may have been triggered by our
the 73% notice rate for those who did not deviate.                     survey question about what they had noticed about the paper
    8) Network effects: One potential feature of a live polling
place environment is a network effect: will a voter who is
voting at the same time as a noticer be more likely to notice
                                                                                                                  -
                                                                       ballot, but it also might be an indication that our interventions
                                                                       did cause voters to think about the risk albeit too late.
                                                                          The free responses also indicate that some participants
a problem on theirs? However, the number of people who                 assumed that the vote was completed and submitted on the
notice in a given experiment is a confounding factor: voters           BMD, rather than the paper ballot being the official record of
are more likely to overlap with a noticer if there are more            their vote. One participant wrote, "I was surprised to still have
noticers. To interrogate this, we ran partial hypothesis tests for     a paper ballot, after using the touch system. I was expecting
each intervention using Fisher's exact tests with permutations         the results to be registered electronically." This assumption
of overlapping with a noticer and noticing, and then combined          may discourage voters from verifying the selections on their



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paper ballot. Similarly, another participant, prompted by script                  Number of problem reports         Let d be the fraction of mis-
variant 3 ( "Have you carefully reviewed each selection on your                   printed ballots that voters detect, report, and correct. Suppose
printed ballot ? "), responded to a poll worker, "I checked it on                 a contest had n ballots cast, and the reported fractional margin
the screen, it better be right."                                                  of victory was m. To have changed the outcome, the attacker
   Three participants expressed concern that they would not                                                                                 i
                                                                                  would have had to successfully modify at least n cast ballots.
                                                                                  However, since some modifications would have been corrected,
know what to do if they noticed a problem with their paper
ballot during a real election. One person wrote, "Having the                      the attacker would have had to induce errors in a greater number
printout be incorrect was confusing and it's not clear how that                   of printouts: n2(i     Under our optimistic assumptions, if the
                                                                                                          .


would be handled in an election environment."                                     attack changed the outcome, we would expect the fraction of
   3) Feedback on the BMDs: We told participants that the                         voters who reported problems, a, to exceed:
experiment was a study about a new kind of voting system,                                                                d
and many left feedback about the interface and appearance                                                     a >m2(1
                                                                                                                         -d).
of the machines. In Michigan, where we conducted the study,
BMDs are available in every precinct, but voters must request                           The model shows that the security impact of verification
to use them. The vast majority of voters use hand -marked paper                   is non -linear, because every voter who corrects an error both
ballots, so study participants were likely unfamiliar with BMD                    increases the evidence that there is a problem and forces the
voting. In their comments, 21 participants expressed liking the            attacker to cheat more in order to overcome the margin of
system, while only three disliked it. Although merely anecdotal,           victory. Figure 4 illustrates this effect.
this reflects previous findings that voters like touch -screen                 With the 6.6% error detection rate from our non -intervention
voting equipment [22].                                                     experiments and a close election with a 0.5% margin (the

                       V. SECURITY MODEL
                                                                           margin that causes an automatic recount in many states) a
                                                                           successful attack would cause as few as 0.018% of voters
                                                                                                         -to    report a problem. Small changes in
                                                                                                                                                          -
   We are primarily motivated by the threat of undetected less than 1 in 5000
changes to election outcomes due to BMD misprinting attacks.               verification      performance        around    our base rate cause relatively
Prior work has shown that such attacks cannot be reliably ruled            little  change     in the   amount     of  evidence.    More than doubling the
out by pre -election or parallel testing [51], and           we  seek to   error    detection     rate  to   14%    (the   rate  we   found for prominent
answer whether voter verification        can  be  an effective   defense.  races)      only    increases     the    fraction    of   voters who report a
   If a voter reports that their printed   ballot does  not  reflect their problem       to   0.039  %.    However,      larger    improvements     have an
on- screen selections,   what   should   election  officials  do?  Unfor-  outsized      effect:    with   the   86%     error   detection  rate  from    our
tunately, there  is not yet a  practical  way  to prove   that the  BMD    most     successful     experiment,        at least   1.5%   of voters  (1 in 67)
misbehaved during voting. From officials' perspective, it is also would report problems.
possible that the voter is mistaken, or even lying, and in a large Required detection rate                        Suppose election officials activate a
voter population, there will always be some rate of spurious countermeasure if the fraction of voters who report problems
problem reports, even when BMDs are working correctly.
   For these reasons, problem reports from voters can serve only
as evidence that something might be wrong with the BMDs.                        1.2

If the evidence exceeds some threshold, officials could invoke                                                                                  1% threshold
contingency plans. For instance, they could remove BMDs                         to
from service to minimize further damage, perform forensic
investigations in an attempt to uncover the cause, or even rerun 2o. 0.8
the election if outcome -changing fraud cannot be ruled out.
                                                                            a 0.6
   Any of these responses would be costly (and none is                            a).

foolproof), so the threshold for triggering them should not o 0.4                              verbal instructions

be too  low.  Moreover,    attackers  could   exploit  a  low  threshold              no interventions
                                                                            á
by recruiting voters to fraudulently report problems, in order ÿ0.2                                                              slates
                                                                                                                                                   Shresho:cJ
to disrupt or discredit the election. On the other hand, if the
threshold is too high, outcome -changing fraud could be ignored.               0.0
                                                                                     0             20              40            60          80            100
   To better understand how verification performance affects
                                                                                                               error detection rate (%)
security in this setting, we construct a simple model. We
assume, optimistically, that the attacker has no way to guess Fig. 4: BMD security is highly sensitive to human performance.
whether a particular voter is more likely than average to detect Given a 0.5% margin of victory, we plot the percentage of
the alteration, and so chooses voters to attack at random. We voters who report a problem during the minimal outcome -
further assume that whenever voters detect problems, they are changing attack as a function of the rate at which errors are
able to remedy them and cast a correct vote by hand -marking detected and corrected. This model implies that using BMDs
a ballot. Except where noted, the model assumes that all voters safely for all voters requires dramatically improved verification
cast their votes using BMDs.                                               performance or very sensitive attack detection thresholds.



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exceeds a threshold a *. For a given margin, the countermeasure                                   VI. DISCUSSION
will be triggered by minimal outcome-changing fraud when:               A. Limitations
                                  2a*                                      It is challenging to capture real -world voter behavior in
                          d>m+2a*                                       a mock election. However, our study followed established
                                                                        best practices [39], and we strived to create as realistic a
   An expensive countermeasure, like rerunning an election, will
                                                                        polling environment as we could. It is impossible to know
require a high trigger threshold -say, 1% of voters reporting           exactly how well we succeeded, but the effect seems to have
a problem  -to    avoid false positives. With a 0.5% margin,
                                                                        been convincing: several people approached us to ask whether
reaching a 1% trigger threshold would require an error detection        there was a real election taking place that they had not heard
rate exceeding 80 %. A less expensive countermeasure, such
as an investigation, might be triggered by a lower threshold     -      about. Our participants also seemed engaged in the study; many
                                                                        expressed strongly held political preferences in our survey (so
say, 0.1 %. Reaching this lower threshold in an election with a
                                                                        much so that some refused to vote according to our slate), and
0.5% margin would require an error detection rate greater than          a large majority reported voting in the 2018 midterm. On the
29 %. This suggests that using BMDs securely for all voters             other hand, the election used a ballot that was more than nine
will require large improvements to verification performance or          months old, which may have reduced participant motivation,
extremely low thresholds for triggering countermeasures.                and we had a few participants who reported that they did not
Minimizing BMD voting helps dramatically           Securing against     vote in our state or were otherwise unfamiliar with our ballot.
misprinting attacks is far easier if only a small fraction of voters    It is also possible that our results were skewed due to selection
use BMDs than if all in- person voters do. This is because an           bias and observer effect.
attacker would be forced to cheat on a much larger fraction                Another limitation of our work is that we drew participants
of BMD ballots in order to achieve the same change to the               from a population that is locally but not nationally representa-
election results. Moreover, if the population of BMD voters is          tive. Our participants tended to be younger, significantly better
smaller than half the margin of victory, it is impossible for a         educated, more liberal, more likely to be female, and more
BMD misprinting attack to change the outcome.                           likely to be Caucasian than the average voter in the United
   Let b be the fraction of voters who use BMDs. We can                 States [54]. Future work is needed to validate our study in
replace m in the expression above with b and let a* be the              more diverse and representative populations.
fraction of BMD voters that must report a problem to trigger                Although our results suggest that certain interventions can
the countermeasure. In Maryland, which uses hand -marked                boost verification performance, the data is too sparse to
paper ballots but makes BMDs available to voters who request            provide a high -fidelity understanding of the magnitude of the
them, 1.8% of voters use BMDs [34]. With a 0.5% margin, as              improvements. In addition, due to time constraints, we were
in the previous example, Maryland would reach a complaint               unable to test the interplay of all combinations of interventions,
threshold of 1% of BMD voters with an error detection rate of           and some interventions appear to be sensitive to small changes
only 6.7 %. If 5% of voters use BMDs, the error detection rate          (e.g., the difference in phrasing between script variants 2
would need to be 17 %. Our results suggest that these more              and 3). Further study is needed to better characterize what
modest rates of verification likely are achievable, in contrast to      makes interventions work and how they interact before we can
the far greater accuracy required when all voters use BMDs.             confidently conclude that any particular set of procedures will
This model overestimates security        An attacker might use          be effective in practice.
any number of features (including several of the correlations
                                                                            B.   Discussion of Findings
we observed) to focus cheating on voters who are less likely
to successfully catch errors. For instance, an attacker could                  Our study provides the first concrete measurements of voter
preferentially modify ballots that have undervotes or a mix                 error detection performance using BMDs in a realistic voting
of selections from different parties. Attackers could also                  environment. At a high level, we found that success rates
selectively target voters with visual impairments, such as those            without intervention are very low, around 6.6 %. Some inter-
who use large text or an audio ballot. Other features, such as              ventions that we tested did not significantly impact detection
how long voters spend inspecting the candidate review screen,               rates among participants, although others improved detection
might also prove to be predictive of verification success. For              drastically and may serve as a roadmap for interventions to
these reasons, our simplified model is likely to overestimate               explore in further research. We discuss those interventions here.
the effectiveness of verification against sophisticated attackers.             1) Verbal instructions can improve verification: Notably, all
   We also note that some attackers may merely seek to cast                 interventions that involved poll workers verbally encouraging
doubt on election results by causing highly visible errors or               verification between the BMD and the scanner -those in E6
failures -which are also possible with hand -marked paper                   E9-    resulted in higher ballot reviewing and error reporting
ballots. However, in general, BMDs are vulnerable to all classes            rates. This, coupled with the fact that reviewing the printout
of computer-based attacks that affect hand -marked paper ballots            was highly correlated with error detection across all of our
and to others, such as the misprinting attack discussed here,               results, suggests that interventions focused on causing the
to which hand -marked paper ballots are not susceptible.                    voter to review the ballot carefully may be helpful. On the



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  other hand, instructions at the beginning of the voting process          after their ballot has printed but before it is scanned and ask
  (E5) and passive signage (E4) had no significant effect on               them to review it. Signage with a similar message to our scripts
  error reporting. This pattern of effects is supported by findings        placed at the optical scanner (E4) or instructions before the
  from the usable security literature, which suggest that post -          participants voted (E5) did not result in significant differences
  completion errors can be mitigated with timely interruptions            in error detection; nevertheless, further study with additional
  that encourage individuals to take defensive steps [14].                variations is prudent before ruling out such strategies.
     It is worth noting that we also found that these interventions           3) Encourage personalized slate voting: Although our
  caused participants to take longer to submit their ballots, on           study tested randomized slates, rather than personalized slates,
  average about twice as long. This could cause longer lines at           the effect size was so large that we tentatively recommend
  polling places if these interventions are implemented without           encouraging the use of personalized slates by voters. In our
  complementary procedural considerations, such as having                 experiments (E8 and E9), participants who were directed to
  adequate space for voters to stop and review their ballots.             vote using a randomized slate (and did not deviate) reported
     2) Effectiveness of slates: Directing participants to vote           errors at a rate of 73 %. If voters prepare their own slates
  for a provided slate of candidates, combined with verbally              at home (or use a printed slate prepared, for instance, by a
 prompting them to review their printouts, resulted in strongly           political party or other organization), they can use them to
 increased rate of error detection: 74% of participants who were          check each selection on the BMD printout. We note that, since
 given a slate and did not deviate from it noticed the errors.            we did not directly test the use of personalized slates, further
 This finding may suggest that encouraging voters to write down           research is necessary to ascertain whether large performance
 their preferences in advance can boost verification.                     gains are actually achieved. Furthermore, even if personalized
     However, the slates we used functioned quite differently from        slates are effective, the gain will be limited to the fraction of
 slates likely to be used in practice. The choices we provided            voters who can be induced to use them.
 were randomly generated and had no basis in the subject's                    Slates have potential downsides and should be used with
 preferences -in     a real election, slates would reflect who the        care. They have the potential to compromise ballot secrecy, so
 voter intended to vote for, most likely created by the voter or          we recommend providing a closed trash can, paper shredder,
 their political party [29]. It is possible that the success rate we     or other means for voters to privately dispose of them before
 observed was primarily due to participants carefully attempting         leaving the precinct. Coercion is also a threat, but voters could
 to follow our instructions and vote for unfamiliar candidates.          be advised to prepare multiple different slates as a defense.
 Further study is needed with more realistic slate conditions                4) Help voters correct errors, and carefully track problems:
 (i.e., asking subjects to write down their preferences) in order        Verification -promoting interventions will be of little use if
 to assess whether slates really do help voters catch errors.            action cannot be taken to remedy misbehaving BMDs-
                                                                         something that even our participants expressed concern about.
 C.   Recommendations                                                        First, it is crucial that polling places have a procedure for
    Since BMDs are widely used today, we recommend several               voters who want to correct their printed ballots. Several subjects
 strategies for improving voter verification performance. While          commented that they would not know what to do if something
 we are unable to conclude that these strategies will enhance            was wrong with their ballot in a real election, indicating that
 error detection to the point that BMDs can be used safely in            this problem is present in current election procedures.
 close or small elections, our findings indicate that they can help.         Second, detailed records should be kept about which BMD
    1) Design polling places for verification: Polling place lay-        the voter used and what the specific issue was, including
 out and procedures should be designed with verification in mind.        the contest and candidates involved (to the extent that the
As we have discussed, voters need time and space to verify their         voter is willing to waive ballot secrecy). Problems should be
ballots. If tables or areas to stand out of the way are provided,        treated as potentially serious even when the voter believes
voters will be able to carefully verify without causing lines            they are at fault -we note that several participants in our
to form or slowing polling place throughput. The presence of             study believed they had made a mistake even though the BMD
such a "verification station" might also encourage verification.         actually was programmed to be malicious. Problem reports
    Another practical concern is privacy. Several of our partici-        should be centrally reported and tracked during the election,
pants expressed discomfort with the fact that we did not provide         so that issues affecting multiple precincts can be identified as
a privacy sleeve for their ballots (a requirement in Michigan),         rapidly as possible.
and that the scanner accepted the ballots face -up only, with one            5) Prepare contingency plans: What to do in the event
participant stating, "I feel like inserting the ballot face up in       that BMDs are known or suspected to be misbehaving is a
the scanning machine will make people uncomfortable." Voters            more difficult question. If an elevated number of voters have a
may not feel comfortable reviewing their ballots in front of poll       problem with a single machine, it should be taken out of service,
workers but may be unsure where to go to review them privately.         provided there are other BMDs available for use (especially
   2) Incorporate post- voting verbal instructions: As all of           for voters with disabilities, who may have no alternative).
our script -based interventions that took place after the ballot            If widespread problem reports occur -particularly problems
was printed (E6 E9) showed an increase in verification
performance, we recommend that poll workers interrupt voters                                                 -
                                                                        focused on a tightly contested race or significantly exceeding
                                                                        the rate reported in past elections officials could consider



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taking most BMDs out of service and encouraging all remaining         better and more accessible voting, enabling all voters to verify
voters who can to use hand -marked ballots. This raises logistical    their printed ballots is a must.
challenges: polling place would need to have enough ballots              8) Require risk- limiting audits: Even perfectly verified
available for hand -marking, or the ability to print ballots on       paper ballots are of little use for security if they are not
demand, and votes already cast on the BMDs would be suspect.          rigorously audited to confirm the results of computer -based
   After the election, forensic analysis of the BMDs could            tabulation. Fortunately, risk -limiting audits [32] (RLAs) are
                                                                      gaining momentum in the United States. Colorado, Nevada, and
be performed to attempt to determine the cause of reported
errors. Unfortunately, such analysis cannot in general rule out
                                                                      Rhode Island mandate statewide RLAs, and states including
                                                                      Michigan, Virginia, Georgia, and Pennsylvania are considering
that a sophisticated attack occurred and left no digital traces.
                                                                      implementing them soon [17]. RLAs and effective verification
Even if programming errors or attacks are uncovered, they may
                                                                      are both necessary in order for paper to provide a strong defense
be impossible to correct if officials are unable to determine
                                                                      against vote -stealing attacks, and we recommend that efforts
whether the effects were large enough to change the election
                                                                      to achieve both be pursued vigorously.
outcome. The only recourse might be to re -mn the election.
   Our findings show that, in the event of an actual error or                                VII. CONCLUSION
attack, the rate of reported problems is likely to be only the tip       We conducted the first empirical study of how well voters
of the iceberg. In our non -intervention experiments, undetected      using BMDs detect errors on their printed ballots, which is a
errors outnumbered reported problems by almost twenty to one.         limiting factor to the level of security that a BMD -based paper
Our results further suggest that an attacker who cleverly focused     trail can provide. Based on the performance of 241 human
cheating on voters who were less likely to verify could achieve       subjects in a realistic polling place environment, we find that,

requires either being very sensitive to reported problems      -
an even higher ratio of undetected errors. An effective response

which increases the chances that an attacker could trigger false
                                                                      absent specific interventions, error detection and reporting
                                                                      rates are dangerously low. Unless verification performance can
                                                                      be improved dramatically, BMD paper trails, particularly when
alarms -or     achieving very high error correction rates.            used by all in- person voters, cannot be relied on to reflect
   6) Educate voters about BMD operations and risks: Like             voter intent if the machines are controlled by an attacker.
in other human-in-the -loop security contexts, greater education         Nevertheless, we also find that procedural interventions can
could boost voters' awareness of the importance of careful            improve rates of error detection and reporting, potentially
verification and boost error detection and reporting rates.           increasing the security offered by BMDs. The interventions
   To this end, we recommend educating voters that the paper,         we tested should serve as examples of what is and is not
rather than what the BMD screen shows, is the official record         likely to be effective, and we hope they will point the way
of their votes. Several of our participants said they realized        for further research and experimentation. These findings add
after scanning that they should have, but did not, review their       to the broad literature of human-in-the -loop security results
printouts. Others stated that they had checked the review screen       and recommendations, and they provide additional examples
on the machine and that they trusted the paper to be correct.         of what does and does not work in human- centric security.
                                                                         Our results should not be read as demonstrating that BMDs
It is likely that many participants incorrectly assumed that the
                                                                       can be used securely. Further work is needed to explore the
BMDs, rather than the paper and scanner, tabulated their votes.
                                                                      potential for attackers to predict which voters will verify,
   We also recommend educating voters about the possibility
                                                                       and additional human -subjects testing is necessary to confirm
of BMD malfunction. Many of our participants seem not to              whether sufficient rates of verification success can be achieved
have even considered that the machine might have changed
                                                                       in practice. The cost of implementing interventions and
their votes, as indicated by the voters who blamed themselves
                                                                       contingency plans may also be prohibitive. Nevertheless, BMDs
for the misprinted ballots. Raising threat awareness could help
                                                                       do offer advantages, including uniform accessibility and ease of
motivate voters to carefully inspect the paper, as well as give
                                                                       administration. We hope our work will help election officials
them greater confidence to report any discrepancies they detect.
                                                                       make better informed choices as they weigh these benefits
   7) Consider the needs of voters with disabilities: Further          against the security risks of using BMDs for all voters.
research is needed to specifically examine verification per-
                                                                                         ACKNOWLEDGMENTS
formance among voters with disabilities, but we offer some
initial recommendations here. Detecting errors in printed ballots       The authors are grateful to Jackie Fleischer Best, Eli
may be especially   challenging  for  voters with   impaired  vision. Neiburger, Emily Howard, Matt Dubay, and everyone at the
Designing   BMD   ballots for maximum    legibility  might help, and  Ann  Arbor District Library, without whom this study would
so  might  encouraging  voters who   use text -to- speech devices  to not have been possible. We also thank Philip Stark for advice
bring them to the polls for use during verification. Jurisdictions about our statistical analyses; Ben Adida, Monica Childers,
could also provide air -gapped accessible devices to read the and Ben VanderSloot for feedback about the experimental
ballot back to voters, in case voters do not have their own text - design; and the anonymous reviewers. This material is based in
to- speech devices. These steps would have the added benefit part upon work supported by the National Science Foundation
of reinforcing the message that the content of the paper ballots under Grant No. CNS- 1518888, by the Facebook Fellowship
is what gets counted. If BMDs are to live up to the promise of Program, and by the Andrew Carnegie Fellows Program.



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                         APPENDIX A                                                                           APPENDIX B
                     POLL WORKER SCRIPT                                                                   RECRUITMENT SCRIPT
  Our poll workers followed four versions of the script below:                 An investigator used the following script to recruit library
a baseline version, and three variants that each add one line.               patrons to participate in the study:
VARIANT 1: Before the voter begins using the BMD, a poll                     Hello, do you have 10 minutes to participate in a study about
    worker asks them to check their ballot before it is scanned.             a new kind of voting machine that is used in elections across
VARIANT 2: Before the voter deposits the ballot, a poll worker               the United States? This study will consist of voting using our
    informs them that it is the official record of the vote.                 voting machine and depositing a printed paper ballot into a ballot
VARIANT 3: Before the voter deposits the ballot, a poll worker               box, and then filling out a survey about the experience. If you
     asks whether they have carefully reviewed each selection.               would like to participate, we will need you to first sign a consent
                                                                             form. We will provide a flyer at the end of your participation
When Subject Arrives (POLL WORKER A)                                         with information about the study. We cannot make all details
                                                                             available at this time, but full details and research results will be
Hello! Before you begin, please fill out this Institutional Review
                                                                             made available within six months of the conclusion of this study.
Board consent form. [Point to form and pen.] If you have any
                                                                             We thank you for your consideration and hope you choose to
questions, feel free to ask.
                                                                             participate!
You are about to participate in a study about the usability of
                                                                                                APPENDIX C
a new type of voting machine. You will be using one of these
                                                                             SLATE OF CANDIDATES FOR DIRECTED VOTING CONDITION
voting machines to make selections on your ballot, which will be
a truncated version of the Ann Arbor 2018 midterm ballot. Once                  We randomly generated a slate of candidates and provided
you are finished, your ballot will be printed from the printer               a printed copy to voters in certain experiments. The handout
beneath the machine, and you can review your ballot and deposit              voters received is reproduced below:
it in the ballot box over there. [Point out ballot box.] Feel free to
                                                                                                   Race                                 Candidates)
vote your political preference or not; no identifying information
will be collected that could match you with your votes. If you                Governor and Lieutenant Governor
                                                                                                                         Bill Gelineau and
                                                                                                                         Angelique Chaiser Thomas
would like to quit at any time during the study, just say so.
                                                                              Secretary of State                         Mary Treder Lang
VARIANT 1: Please remember to check          your ballot carefully
                                                                              Attorney General                           Lisa Lane Gioia
before depositing it into the scanner.                                                                                   Debbie Stabenow
                                                                              United States Senator
You may begin at any time.                                                    Representative in Congress 12th District   Jeff Jones

                                                                              Member of State Board of Education         Tiffany Tilley
Before Subject Deposits Ballot (POLL WORKER B)                                (Vot. for 2)                               Mary Anne Hering

VARIANT 2: Please keep in mind that the paper ballot is the                   Regent of the University of Michigan
                                                                              (Vot. fort)
                                                                                                                         Jordan Acker
                                                                                                                         Joe Sanger
official record of your vote.                                                                                            Mike Miller
                                                                              Trustee of Michigan State University
                                                                              (Vote for 2)                               Bruce Campbell
VARIANT 3: Have you carefully reviewed each selection on       your
                                                                              Justice of the Supreme Court               Megan Kathleen Cavanagh
printed ballot?                                                               (Vot. fore)                                Kerry Lee Morgan

                                                                              Judge of Court of Appeals 3rd District     Jane Marie Beckering
After Subject Deposits Ballot (POLL WORKER B)                                 Incumbent Position Not. for 2)             Douglas B. Shapiro

Thank you forparticipating! You are now finished with the study,              Judge of Circuit Court 22nd Circuit        Timothy Patrick Connors
and should fill out the exit survey. [Point to debrief survey                 Incumbent Position (vot. for 2)            Carol Kuhnke

computers.]                                                                   Judge of Probate Court Incumbent
                                                                                                                         Darlene A. O'Brien
                                                                              Position

After Subject Completes Exit Survey (POLL WORKER B)                           Judge of District Court 14A District
                                                                                                                         Thomas B. Bourque
                                                                              Incumbent Position
Thank you for your participation! You are now finished. If you
have any questions about this study, you may ask them now,
although I am unable to answer some questions due to the nature
of the research. Here is a debrief form. [Hand subject a debrief
form.] If you think of anything after you leave, you can reach
[me/the principle investigators] through the information on the
debrief form.
If you know anyone  who might like to participate, please refer
them here; we will be here [remaining time].
Thank you again for participating!


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